EXHIBIT 7




   EXHIBIT 7, PAGE 98
                            UNITED STATES DISTRICT COURT

                          SOUTHERN DISTRICT OF CALIFORNIA



SAN DIEGO COMIC CONVENTION, a        ) Case No. 14-cv-1865 AJB (JMA)
California nonprofit corporation     )
                                     ) EXPERT REPORT OF MATTHEW G.
                     Plaintiff,      ) EZELL
                                     )
         v.                          )
                                     )
DAN FARR PRODUCTIONS, a Utah limited )
liability company; DANIEL FARR, an   )
individual; and BRYAN BRANDENBURG, )
an individual,                       )
                                     )
                     Defendants.     )
                                     )


                                      INTRODUCTION

              1.      I am a partner in the marketing research and consulting firm of Ford
Bubala & Associates, located in Huntington Beach, California, which has been engaged in

commercial marketing research and consulting for the past forty-two years.

              2.      In the instant matter, at the request of Pillsbury Winthrop Shaw Pittman

LLP, counsel for San Diego Comic Convention (“SDCC” or “Plaintiff”), I designed and caused

to be conducted a survey designed to address the issue of the primary significance of COMIC-

CON to the relevant public. Specifically, this survey was designed to measure whether or not the

relevant public understands the primary significance of COMIC-CON with respect to

conventions to be a brand name or trademark or, alternatively, a common or generic name.




                                      EXHIBIT 7, PAGE 99
               3.      The results of the survey conducted in this matter evidence that

approximately eighty-three percent (82.76%) of qualified respondents understand that COMIC-

CON is a brand name. Additionally, these survey results clearly evidence the strength of the

COMIC-CON mark.

                                SUMMARY OF CONCLUSIONS

               4.      In my opinion, the results of the survey conducted in this matter and

described in this report support a finding that the primary significance of COMIC-CON is that of

a brand name or trademark.

               5.      In my opinion, the results of the survey described in this report clearly

evidence the strength of the COMIC-CON mark.

                                       QUALIFICATIONS

               6.      I am a member of the American Marketing Association (AMA), the

American Association of Public Opinion Research (AAPOR), the Council of American Survey

Research Organizations (CASRO), and the International Trademark Association (INTA).

               7.      Ford Bubala & Associates has been retained by a variety of firms engaged

in the consumer product, industrial product, and service sectors of the economy to provide

marketing consulting and research services. Approximately one-half of Ford Bubala &

Associates’ consultancies have involved the design and execution of marketing research surveys.

               8.      During the past forty-two years, Ford Bubala & Associates has been

retained in a number of litigation-related consultancies involving intellectual property matters,

including matters before federal and state courts, the Trademark Trial and Appeal Board of the

U.S. Patent and Trademark Office, and the International Trade Commission.

               9.      I have been with Ford Bubala & Associates for approximately sixteen

years. During the past eight years, I have been involved in the design and execution of over

approximately fifty surveys relating to intellectual property matters, including trademark, false

advertising, and other related matters. Additionally, I am familiar with the tests for




                                                -2-


                                       EXHIBIT 7, PAGE 100
trustworthiness of properly conducted surveys or polls and the accepted principles of survey

research, detailed in the Manual for Complex Litigation, Fourth.1

                  10.      In the past four years, I have provided deposition testimony in the matter

of Luxe Hospitality Company, LLC v. SBE Entertainment Group, et al., U.S. District Court,

Central District of California. I have not provided trial testimony in the past four years.

                  11.      Attached hereto as Exhibit B is a copy of publications that I have authored

or co-authored in the last ten years.

                  12.      Attached hereto as Exhibit C is a copy of my professional history,

describing my qualifications and professional background.

                                        MATERIALS CONSIDERED

                  13.      Materials considered in the instant matter include: Complaint dated

August 7, 2014; Defendants and Counterclaimants’ First Amended Answer and Counterclaims

dated November 7, 2014; Plaintiff and Counterdefendant’s Response to Defendants and

Counterclaimants’ Amended Counterclaims dated October 26, 2015; and an online omnibus

study conducted by ORC February 8-10, 2016.

                                               COMPENSATION

                  14.      Ford Bubala & Associates’ fees for this engagement consist of billable

time and expenses. Standard time is billed at the rate of $600.00 per hour for the services of a

Partner and $300.00 per hour for the services of a Research Associate. Deposition and trial time

are billed at the rate of $750.00 per hour plus expenses.

                                          SURVEY BACKGROUND

                  15.      Attached hereto as Exhibit A are the results of the survey which addressed

the issue of the primary significance of COMIC-CON. Exhibit A provides the survey screener

         1
                   For the proffered poll or survey, “...Relevant factors include whether: the population was properly
chosen and defined; the sample chosen was representative of that population; the data gathered were accurately
reported; and the data were analyzed in accordance with accepted statistical principles...In addition, in assessing the
validity of a survey, the judge should take into account the following factors: whether the questions asked were clear
and not leading; whether the survey was conducted by qualified persons following proper interview procedures; and
whether the process was conducted so as to ensure objectivity...”
See Federal Judicial Center, Manual for Complex Litigation, Fourth, Section 11.493, @ 102-104 (2004).

                                                         -3-


                                              EXHIBIT 7, PAGE 101
and questionnaire, and response frequencies for the survey questions. The Appendix of Exhibit

A contains survey specifications, a sequential listing of the survey responses, and other survey-

related background materials.

                16.      The sample selection, questions, questionnaire design, and interviewing

procedures employed in this survey were designed in accordance with the generally accepted

standards and procedures in the field of surveys. The survey was also designed to meet the

criteria for survey trustworthiness detailed in the Federal Judicial Center’s Manual for Complex

Litigation, Fourth.2

                17.      This survey employed an online internet protocol using an internet panel

created and maintained by Critical Mix and was hosted by Issues & Answers Network, Inc.

(“Issues & Answers”), an independent survey organization.

                18.      The respondent selection procedure employed in this survey is referred to

as a quota sampling method. This method provided a respondent base that is generally

representative of the age, gender, and geographic distribution of male and female adults eighteen

(18) years of age or older who reported that they, in the past year, had attended a convention

featuring animation, comic books, or popular arts. These age, gender, and geographic

distributions were based upon the results of an ORC International (“ORC”) internet survey

conducted between February 8-10, 2016, among a nationally representative sample of

approximately one thousand (1,020) individuals across the United States.3

                19.      Potential respondents in the Ford Bubala & Associates survey were sent

an email invitation to fill out the screening portion of the interview to determine whether or not

they met the survey universe definition (i.e., reported that they either, within the past year,

attended a convention featuring animation, comic books, or popular arts, or, within the next year,

        2
                  Supra, note 1.
        3
                  Respondents in the ORC survey were asked “In the past year, have you attended a convention
featuring animation, comic books, or popular arts?” Based on the results of the ORC survey, the Ford Bubala &
Associates survey established quotas for age, gender, and geography as follows: approximately 54% male and 46%
female; among males, approximately 56% 18 to 34, 33% 35 to 54, and 11% 55 or over; among females,
approximately 65% 18 to 34, 25% 35 to 54, and 10% 55 or over; and 20% Northeast, 21% Midwest, 33% South, and
26% West.

                                                    -4-


                                           EXHIBIT 7, PAGE 102
were likely to attend a convention featuring animation, comic books, or popular arts).4

Subsequently, those potential respondents who met the survey universe definition were invited to

complete the main survey.

                  20.      I was responsible for the design of the survey, the screener and

questionnaire, as well as for the procedures to be followed in conducting the interviews. Data

gathering was carried out, under the direction of Ford Bubala & Associates, by Issues &

Answers. Data gathering was conducted from March 15, 2016 through April 5, 2016. In total,

four hundred six (406) interviews were completed in this survey.

                  21.      The survey conducted in this matter was administered under a double-

blind protocol. Specifically, not only were the respondents not informed as to the purpose or

sponsor of the survey, but similarly, both the staff of Issues & Answers and the staff of Critical

Mix were not informed as to the purpose or sponsor of the survey.

                              SURVEY PROCEDURES AND QUESTIONS

                  22.      After respondents met the screening criteria (i.e., the universe definition),

they were then shown the following statements:

                  The research we are conducting today is on brand names and common names.

                By a brand name, we mean a name like ‘Bank of America,’ which is used by one
         company or organization; by a common name, we mean a name like ‘safe deposit box’
         which is used by a number of different companies or organizations.

Respondents were then asked two questions which tested their ability to distinguish between a

brand name and a common name. These questions were:

                  9.0      Now, if you were asked, “Do you understand the name ‘National Football
                           League’ to be a brand name or a common name?” what would you say?



         4
                  In addition, the survey universe was also restricted to respondents (1) who were using a desktop
computer, a laptop/notebook computer, or a tablet computer; (2) who did not, nor did anyone else in their household,
work for an advertising agency or a market research company; or an organization that puts on conventions that are
open to the public; (3) who agreed to answer the questions in the survey by themselves without the help or
assistance of anyone else and without seeking information from any other source (e.g., internet search); and (4) who,
if they wore contact lenses or eyeglasses when using the device they were using to complete the survey agreed to
wear them while answering the survey questions.

                                                        -5-


                                             EXHIBIT 7, PAGE 103
                   9.1      Now, if you were asked, “Do you understand the name ‘high school
                            football’ to be a brand name or a common name?” what would you say?
Those respondents who gave the answer “brand name” to question 9.0 and “common name” to

question 9.1 were included in the survey; otherwise, they were excluded from the survey.

                   23.      Subsequently, respondents were told:

               For each of the following eight names, would you indicate whether you
        understand the name to be a brand name used by one company or organization or a
        common name used by a number of different companies or organizations.

                   For any of the names, if you don’t know, that is an acceptable answer.
Respondents were then instructed for each of eight (8) names5 as follows:

                   10.0     Please indicate whether you understand this name to be a brand name or a
                            common name.
The eight names asked about were COKE, JELLO, REFRIGERATOR, MARGARINE,

AMERICAN AIRLINES, GAS STATION, DEMOCRATIC NATIONAL CONVENTION, and

POLITICAL PARTY CONVENTION.

                   24.      Subsequently, respondents were told:

                Now with respect to conventions, for each of the following three names please
        indicate whether you understand each name to be a brand name or a common name.
The three names asked about were CONVENTION CENTER, ANIME EXPO, and COMIC-
CON.6 Finally, respondents were thanked for their time and participation.

                   25.      The overall design of this survey, the questions posed to respondents, and

the list of names tested were generally patterned after the surveys reported and relied upon by the
courts.7 Also see J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition, Vol.

2 §12:16 @ 12-58, Rel. #74, 6/2015.

        5
                   To guard against position or order bias, the order of the eight names was randomized for each
respondent.
        6
                   Again, to guard against position or order bias, the order of the three names was randomized for
each respondent.
        7
                   See E.I. du Pont de Nemours & Co. v. Yoshida International, Inc., et al., 393 F. Supp. 502
(E.D.N.Y. 1975), and Windsurfing International, Inc., et al. v. Fred Ostermann GmbH, et al., 613 F. Supp. 933
(S.D.N.Y. 1985). Also see In re Callaway Golf Company, 2001 T.T.A.B. LEXIS 599 (T.T.A.B. 2001) (this
disposition is not citable as precedent of the T.T.A.B.), In re Country Music Association, Inc., 2011 T.T.A.B. LEXIS
343 (T.T.A.B. 2011) (this opinion is a precedent of the T.T.A.B.), and Elliot v. Google, 45 F. Supp. 3d 1156 (D.
Ariz. 2015).

                                                         -6-


                                              EXHIBIT 7, PAGE 104
                                                      SURVEY RESULTS

                     26.        Following is a restatement of the initial questions posed and the response

distributions received among respondents who met the survey universe definition (i.e., have

attended or will attend a convention featuring animation, comic books, or popular arts.) See

Exhibit A, page 8.8

                                                           TABLE 1B
                                                         PERCENTAGES

               For each of the following eight names, would you indicate whether you
understand the name to be a brand name used by one company or organization or a common
name used by a number of different companies or organizations.

Q10.0           Please indicate whether you understand this name to be a brand name or a common
                name.

                                                                          Response Distribution - Percentages

                                                                   Brand        Common        Don’t
                                                                   Name          Name         Know         Total
                                                                                                          (n=406)

COKE...........................................................     89.90          9.36         0.74      100.00

JELLO..........................................................     80.54         18.47         0.99      100.00

REFRIGERATOR .......................................                    2.96      97.04           ---     100.00

MARGARINE .............................................             10.34         88.42         1.23      100.00

AMERICAN AIRLINES .............................                     95.57          3.94         0.49      100.00

GAS STATION ...........................................                 2.96      97.04           ---     100.00

DEMOCRATIC NATIONAL
  CONVENTION .....................................                  77.09         18.97         3.94      100.00


POLITICAL PARTY CONVENTION........                                  21.67         74.88         3.45      100.00



                     27.        A review of the survey results for the above tested names evidences that

the respondents, in the instant survey, were quite capable of sorting out brand names from

          8
                  Exhibit A, page 7 provides a numerical distribution of responses and page 8 provides the
percentage distribution of responses.

                                                                  -7-


                                                      EXHIBIT 7, PAGE 105
common names. Additionally, the percentage response patterns for the above tested names

generally were similar and parallel to results reported in prior tests of these names, which further

attests to the reliability of the instant research results.9

                   28.      Following is a restatement of the subsequent questions posed and the

response distributions received among respondents who met the survey universe definition. As

evidenced in Table 2B, approximately eighty-three percent (82.76%) of the qualified respondents

understand COMIC-CON to be a brand name. See Exhibit A, page 10.10

                                                     TABLE 2B
                                                   PERCENTAGES

              Now with respect to conventions, for each of the following three names please
indicate whether you understand each name to be a brand name or a common name.

Q11.0         Please indicate whether you understand this name to be a brand name or a common
              name.

                                                                   Response Distribution - Percentages

                                                            Brand        Common          Don’t
                                                            Name          Name           Know            Total
                                                                                                        (n=406)

CONVENTION CENTER...........................                     8.62      91.13            0.25        100.00

ANIME EXPO .............................................     57.88         33.25            8.87        100.00

COMIC-CON...............................................     82.76         14.04            3.20        100.00

                                                    CONCLUSION

                   29.      It is my considered opinion, based upon my education, background, and

professional experience, and based upon my review and analysis, that the results of the survey

conducted in this matter support a finding that the primary significance of COMIC-CON is that

of a brand name or trademark. Additionally, these survey results clearly evidence the strength of

the COMIC-CON mark.



         9
                  Supra, note 7.
         10
                  Exhibit A, page 9 provides a numerical distribution of responses and page 10 provides the
percentage distribution of responses.

                                                           -8-


                                                 EXHIBIT 7, PAGE 106
               30.    I reserve the right to amend or supplement my opinions based on the

report or opinions provided by experts on behalf of the Defendants in this case or in the event I

become aware of additional information.

               Executed this 7th day of April, 2017, in Huntington Beach, California.



                                                       Matthew G. Ezell




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                                      EXHIBIT 7, PAGE 107
Exhibit A




   EXHIBIT 7, PAGE 108
EXHIBIT 7, PAGE 109
                                 April 3, 2017




TO:   Peter K. Hahn, Esq.
      Pillsbury Winthrop Shaw Pittman LLP
      501 West Broadway, Suite 1100
      San Diego, CA 92101

FROM: Ford Bubala & Associates

RE:   Comic-Con Primary Significance Survey

     Enclosed, herein, please find the results of a survey
designed to address the issue of the primary significance
with respect to the term or designation COMIC-CON.
Specifically, this survey was designed to measure whether or
not the relevant public understands the primary significance
of COMIC-CON, with respect to conventions, to be a brand
name or trademark or, alternatively, a common or generic
name.

     Provided in this report is the survey screener and
questionnaire, and response frequencies for the survey
questions. The Appendix of this report contains other
survey-related background materials.




                     EXHIBIT 7, PAGE 110
COMIC-CON PRIMARY SIGNIFICANCE SURVEY




                            Ford Bubala & Associates
                                         April, 2017




                 EXHIBIT 7, PAGE 111
                  COMIC-CON PRIMARY SIGNIFICANCE SURVEY
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                                APPENDIX

Appendix   A:   Survey Specifications
Appendix   B:   Sequential Listing of Survey Responses
Appendix   C:   Survey Screen Shots
Appendix   D:   Final Sample Distribution Report
Appendix   E:   Survey Data File




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Tab A




EXHIBIT 7, PAGE 113
COMIC-CON PRIMARY SIGNIFICANCE SURVEY

     SCREENER AND QUESTIONNAIRE




                - 1 -




          EXHIBIT 7, PAGE 114
                                                                    FB&A
                                                                    3/16
                                                                   #1904

                                SCREENER - W
SCREEN #1
     Today we have some questions about conventions.      Please take
a few moments to complete our questionnaire.


SCREEN #2
1.0   Select gender.
      _____1.      Male
      _____2.      Female

PROGRAMMER NOTE: GENDER QUOTA
     MALES 54%, FEMALES 46%


SCREEN #3

1.1   Please enter your date of birth.
      __/__/____
      MM DD YYYY

      [PROGRAMMER: TERMINATE IF DOES NOT MATCH PANELIST’S PRE-
      EXISTING DATA. IF DOB IS BLANK, TERMINATE AS REFUSED.
      CALCULATE AGE RANGES TO DETERMINE OPEN QUOTAS FOR AGE PRIOR
      TO CONTINUING. CODE AGE RANGE BASED ON DOB]

      1.   Under   18 TERMINATE.
      2.   18 to   34
      3.   35 to   54
      4.   55 or   over
PROGRAMMER NOTE     – AGE/GENDER   QUOTAS:
          18 TO     34, - MALES    56%, FEMALES 65%
          35 TO     54, - MALES    33%, FEMALES 25%
          55 OR     OVER - MALES   11%, FEMALES 10%


SCREEN #4

2.0   Please select the area of the country in which you reside:
      _____1.       Northeast (Connecticut, Maine, Massachusetts, New
                    Hampshire, New Jersey, New York, Pennsylvania,
                    Rhode Island, Vermont)
      _____2.       Midwest (Illinois, Indiana, Iowa, Kansas,
                    Michigan, Minnesota, Missouri, Nebraska, North
                    Dakota, Ohio, South Dakota, Wisconsin)

      _____3.       South (Alabama, Arkansas, DC, Delaware, Florida,
                    Georgia, Kentucky, Louisiana, Maryland,
                    Mississippi, North Carolina, Oklahoma, South
                    Carolina, Tennessee, Texas, Virginia, West
                    Virginia)

      _____4.       West (Alaska, Arizona, California, Colorado,
                    Hawaii, Idaho, Montana, Nevada, New Mexico,
                    Oregon, Utah, Washington, Wyoming)
      _____5.       Other   TERMINATE.
PROGRAMMER NOTE - QUOTAS FOR POPULATION IN THE FOUR CENSUS REGIONS:
     20% NORTHEAST
     21% MIDWEST
     33% SOUTH
     26% WEST




                            EXHIBIT 7, PAGE 115
SCREEN #5

3.0   In the past year, have you attended any of the following:
      PROGRAMMER NOTE: RANDOMIZE LIST.
                                                            Don’t
                                            Yes      No     Know
      - a convention featuring animation,
         comic books, or popular arts? . .   ____1.   ____2.   ____3.

      - a convention featuring vehicles
         or vehicle accessories? . . . . .   ____1.   ____2.   ____3.
      - a convention featuring electronics
         or technology?. . . . . . . . . .   ____1.   ____2.   ____3.

      - a convention for hobbyists and
         do-it-yourselfers?. . . . . . . .   ____1.   ____2.   ____3.
PROGRAMMER NOTE: CONTINUE.


SCREEN #6

3.1   In the next year, are you likely to attend any of the following:
      PROGRAMMER NOTE: USE SAME ORDER AS Q3.0.
                                                            Don’t
                                            Yes      No     Know

      - a convention featuring animation,
         comic books, or popular arts? . .   ____1.   ____2.   ____3.

      - a convention featuring vehicles
         or vehicle accessories? . . . . .   ____1.   ____2.   ____3.
      - a convention featuring electronics
         or technology?. . . . . . . . . .   ____1.   ____2.   ____3.

      - a convention for hobbyists and
         do-it-yourselfers?. . . . . . . .   ____1.   ____2.   ____3.
PROGRAMMER NOTE: IF ’YES’ TO ’...ANIMATION...’ AT EITHER Q3.0 OR
Q3.1, CONTINUE; OTHERWISE, TERMINATE.


SCREEN #7

4.0   What best describes the device you are using right now to read
      this survey?

      _____1.   A desktop computer
      _____2.   A laptop/notebook computer

      _____3.   A tablet computer

      _____4.   An eBook reading device

      _____5.   A phone

      _____6.   Other

PROGRAMMER’S NOTE: OPTION 1, 2, OR 3, CONTINUE.
ALL OTHERS, TERMINATE.




                          EXHIBIT 7, PAGE 116
SCREEN #8

5.0   Do you, or does anyone else in your household, work for...
                                                         Yes          No
      -     an advertising agency or a market
             research company? . . . . . . . . . . . . . ___1.        ___2.

      -     an organization that puts on conventions
             that are open to the public?. . . . . . . . ___1.        ___2.

PROGRAMMER’S NOTE:
IF ’YES’ TO EITHER, TERMINATE.      IF ’NO’ TO BOTH, CONTINUE.


SCREEN #9

6.0   Do you agree to answer the questions in this survey by yourself
      without the help or assistance of anyone else?

      _____1.   Yes --> CONTINUE.

      _____2.   No --> TERMINATE.

SCREEN #10

6.1   Do you agree to answer the questions in this survey without
      seeking information from any other source (e.g., will not conduct
      an internet search)?

      _____1.   Yes --> CONTINUE.

      _____2.   No --> TERMINATE.

SCREEN #11

7.0   Do you usually wear contact lenses or eyeglasses when you use the
      device you are using right now?
      _____1.   Yes --> CONTINUE.
      _____2.   No --> GO TO --> SCREEN #13


SCREEN #12
7.1   Do you agree to wear them during the rest of the questionnaire?

      _____1.   Yes --> CONTINUE.

      _____2.   No --> TERMINATE.


SCREEN #13
8.0   Please select the number three from the following list in order
      to continue with this survey.
      _____1. one

      _____2. two

      _____3. three
      _____4. four

PROGRAMMER’S NOTE: IF ’THREE,’ CONTINUE.      OTHERWISE, TERMINATE.




                          EXHIBIT 7, PAGE 117
                              QUESTIONNAIRE - W

SCREEN #14
     The research we are conducting today is on brand names and common
names.

     By a brand name, we mean a name like ’Bank of America’ which is
used by one company or organization; by a common name, we mean a name
like ’safe deposit box’ which is used by a number of different
companies or organizations.


SCREEN #15
9.0   Now, if you were asked, "Do you understand the name
      ’National Football League’ to be a brand name or a common name?"
      what would you say?
      PROGRAMMER’S NOTE: ROTATE ORDER OF ’BRAND’ AND ’COMMON’ IN BOTH
      QUESTION AND ANSWER.
      _____1.   brand name    CONTINUE.

      _____2.   common name    TERMINATE.
      _____3.   other   TERMINATE.

SCREEN #16

9.1   Now, if you were asked, "Do you understand the name
      ’high school football’ to be a brand name or a common name?" what
      would you say?
      PROGRAMMER’S NOTE: USE SAME ORDER AS Q9.0.

      _____1.   brand name    TERMINATE.
      _____2.   common name    CONTINUE.
      _____3.   other   TERMINATE.




                             EXHIBIT 7, PAGE 118
SCREEN #17

     For each of the following eight names, would you indicate whether
you understand the name to be a brand name used by one company or
organization or a common name used by a number of different companies
or organizations.

     For any of the names, if you don’t know, that is an acceptable
answer.


SCREEN #18

PROGRAMMER’S NOTE:
RANDOMIZE LIST. ASK EACH ITEM ON A SEPARATE SCREEN, SHOWING QUESTION
BELOW ON EACH SCREEN FOR EACH NAME.

10.0 Please indicate whether you understand this name to be a brand
     name or a common name.
     PROGRAMMER’S NOTE: RANDOMIZE LIST. FOR EACH RESPONDENT, ROTATE
     ORDER OF ’BRAND’ AND ’COMMON’ IN THE QUESTION.

                                Brand             Common         Don’t
                                Name              Name           Know
     - COKE                        _____1.        _____2.           _____3.

     - JELLO                       _____1.        _____2.           _____3.
     - REFRIGERATOR                _____1.        _____2.           _____3.
     - MARGARINE                   _____1.        _____2.           _____3.

     - AMERICAN AIRLINES        _____1.          _____2.        _____3.

     - GAS STATION                 _____1.        _____2.           _____3.
     - DEMOCRATIC NATIONAL
        CONVENTION                 _____1.        _____2.           _____3.
     - POLITICAL PARTY
        CONVENTION                 _____1.        _____2.           _____3.

     CONTINUE.


SCREEN #19
     Now with respect to conventions, for each of the following three
names please indicate whether you understand each name to be a brand
name or a common name.


SCREEN #20

PROGRAMMER’S NOTE:
RANDOMIZE LIST. ASK EACH ITEM ON A SEPARATE SCREEN, SHOWING QUESTION
BELOW ON EACH SCREEN FOR EACH NAME.

11.0 Please indicate whether you understand this name to be a brand
     name or a common name.
     PROGRAMMER’S NOTE: RANDOMIZE LIST. ROTATE ORDER OF ’BRAND’ AND
     ’COMMON’ IN THE QUESTION.

                           Brand             Common         Don’t
                           Name               Name          Know
     -   CONVENTION
          CENTER . . . .   _____1.           _____2.        _____3.

     -   ANIME EXPO. . .   _____1.           _____2.        _____3.

     -   COMIC-CON . . .   _____1.           _____2.        _____3.


SCREEN #21

12.0 Thank you for your time and participation.

                           EXHIBIT 7, PAGE 119
Tab B




EXHIBIT 7, PAGE 120
Tab 1




EXHIBIT 7, PAGE 121
                             TABLE 1A

                              NUMBERS




     For each of the following eight names, would you indicate
whether you understand the name to be a brand name used by one
company or organization or a common name used by a number of
different companies or organizations.

Q10.0   Please indicate whether you understand this name to be a
        brand name or a common name.



                               Response Distribution - Numbers

                            Brand       Common    Don’t
                            Name         Name     Know     Total

COKE . . . . . . . . . .      365         38       3       406

JELLO. . . . . . . . . .      327         75       4       406

REFRIGERATOR . . . . . .       12        394      --       406

MARGARINE. . . . . . . .       42        359       5       406

AMERICAN AIRLINES. . . .      388         16        2       406

GAS STATION. . . . . . .       12        394      --       406

DEMOCRATIC NATIONAL
  CONVENTION . . . . . .      313         77      16       406

POLITICAL PARTY
  CONVENTION . . . . . .       88        304      14       406




                               - 7 -
                        EXHIBIT 7, PAGE 122
                               TABLE 1B

                              PERCENTAGES




     For each of the following eight names, would you indicate
whether you understand the name to be a brand name used by one
company or organization or a common name used by a number of
different companies or organizations.

Q10.0   Please indicate whether you understand this name to be a
        brand name or a common name.



                               Response Distribution - Percentages

                              Brand       Common    Don’t
                              Name         Name     Know     Total
                                                            (n=406)

COKE . . . . . . . . . .      89.90          9.36    0.74   100.00

JELLO. . . . . . . . . .      80.54         18.47    0.99   100.00

REFRIGERATOR . . . . . .       2.96         97.04    ---    100.00

MARGARINE. . . . . . . .      10.34         88.42    1.23   100.00

AMERICAN AIRLINES. . . .      95.57          3.94    0.49   100.00

GAS STATION. . . . . . .       2.96         97.04    ---    100.00

DEMOCRATIC NATIONAL
  CONVENTION . . . . . .      77.09         18.97    3.94   100.00

POLITICAL PARTY
  CONVENTION . . . . . .      21.67         74.88    3.45   100.00




Note: Totals on this and all subsequent tables may not be exactly
      100.00 percent due to rounding.




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                           EXHIBIT 7, PAGE 123
Tab 2




EXHIBIT 7, PAGE 124
                             TABLE 2A

                              NUMBERS




     Now with respect to conventions, for each of the following
three names please indicate whether you understand each name to
be a brand name or a common name.

Q11.0   Please indicate whether you understand this name to be a
        brand name or a common name.



                               Response Distribution - Numbers

                             Brand      Common    Don’t
                             Name        Name     Know     Total

CONVENTION CENTER. . . .       35        370        1       406

ANIME EXPO . . . . . . .      235        135      36       406

COMIC-CON. . . . . . . .      336         57      13       406




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                        EXHIBIT 7, PAGE 125
                             TABLE 2B

                            PERCENTAGES




     Now with respect to conventions, for each of the following
three names please indicate whether you understand each name to
be a brand name or a common name.

Q11.0   Please indicate whether you understand this name to be a
        brand name or a common name.



                             Response Distribution - Percentages

                            Brand       Common    Don’t
                            Name         Name     Know     Total
                                                          (n=406)

CONVENTION CENTER. . . .     8.62         91.13   0.25    100.00

ANIME EXPO . . . . . . .    57.88         33.25   8.87    100.00

COMIC-CON. . . . . . . .    82.76         14.04   3.20    100.00




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                        EXHIBIT 7, PAGE 126
Tab 3




EXHIBIT 7, PAGE 127
                            TABLE 3




                      GENDER DISTRIBUTION




                                        Response Distribution

Response Categories                     Number        Percent
                                                      (n=406)

  1.   Male                                 219        53.94

  2.   Female                               187        46.06
                                            ___       ______
       Total                                406       100.00




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                      EXHIBIT 7, PAGE 128
Tab 4




EXHIBIT 7, PAGE 129
                            TABLE 4




                      AGE DISTRIBUTION




                                        Response Distribution

Response Categories                     Number        Percent
                                                      (n=406)

  1. 18 to 34                               241        59.36

  2. 35 to 54                               119        29.31

  3. 55 or over                              46        11.33
                                            ___       ______
    Total                                   406       100.00




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                      EXHIBIT 7, PAGE 130
Appendix A




   EXHIBIT 7, PAGE 131
     APPENDIX A

SURVEY SPECIFICATIONS




  EXHIBIT 7, PAGE 132
                              APPENDIX A

                        SURVEY SPECIFICATIONS



SURVEY BACKGROUND

     In the instant matter, at the request of Pillsbury Winthrop
Shaw Pittman LLP, counsel for plaintiff, San Diego Comic
Convention ("Comic-Con" or "Plaintiff"), a survey was designed
and caused to be conducted to address the issue of the primary
significance with respect to the term or designation COMIC-CON.
Specifically, this survey was designed to measure whether or not
the relevant public understands the primary significance of
COMIC-CON, with respect to conventions, to be a brand name or
trademark or, alternatively, a common or generic name.


SAMPLING FRAME

     This survey employed an internet panel created and
maintained by Critical Mix. Potential respondents were invited
to fill out the screening portion of the interview to determine
whether or not they met the universe definition. Subsequently,
those potential respondents who met the universe definition were
invited to complete the main survey.

     In total, four hundred six (406) interviews were completed
in this survey.


SURVEY UNIVERSE

     The universe for this survey consisted of respondents who
reported that they either had, in the past year, attended a
convention featuring animation, comic books, or popular arts; or
were likely, in the next year, to attend a convention featuring
animation, comic books, or popular arts.1



     1
          Additionally, the survey universe was also restricted to
respondents (1) who were using a desktop computer, a laptop/notebook
computer, or a tablet computer to read and answer the survey
questions; (2) who resided in the United States in proportion to the
regional geographic distribution of the population based upon an
omnibus survey of past attendees at a convention featuring animation,
comic books, or popular arts; (3) who did not, nor did anyone else in
their household, work for an advertising agency or a market research
company; or an organization that puts on conventions that are open to
the public; (4) who agreed to answer the questions in the survey by
themselves without the help or assistance of anyone else and without
seeking information from any other source (e.g., internet search); (5)
who, if they wore contact lenses or eyeglasses when using the device
they were using, would wear them during the questionnaire; and (6)
whose reported age and gender matched the survey panel data.

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                          EXHIBIT 7, PAGE 133
SURVEY METHODOLOGICAL PROCEDURES

     The sample selection, questions, questionnaire design, and
interviewing procedures employed in this survey were designed in
accordance with the generally accepted standards and procedures
in the field of surveys. The survey was also designed to meet
the criteria for survey trustworthiness detailed in the Manual
for Complex Litigation, Fourth.

     The survey conducted in this matter was administered under a
double-blind protocol. Specifically, not only were the
respondents not informed as to the purpose or sponsor of the
survey, but similarly, both the staff of the survey host, Issues
& Answers Network, Inc. ("Issues & Answers"), and the staff of
Critical Mix were not informed as to the purpose or sponsor of
the survey.


SURVEY RESEARCH DESIGN/TABULATION/ANALYSIS

     Ford Bubala & Associates
     16400 Pacific Coast Highway
     Suite 211
     Huntington Beach, California     92649


PROFESSIONAL SURVEY ORGANIZATION

     Issues & Answers Network, Inc.
     5151 Bonney Road
     Virginia Beach, Virginia 23462


ONLINE INTERNET PANEL

     Critical Mix
     53 Riverside Ave
     Westport, Connecticut   06880


INTERVIEWING DATES

     March 15, 2016 through April 5, 2016




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Appendix B




   EXHIBIT 7, PAGE 135
              APPENDIX B

SEQUENTIAL LISTING OF SURVEY RESPONSES




          EXHIBIT 7, PAGE 136
                              APPENDIX B

                SEQUENTIAL LISTING OF SURVEY RESPONSES




SURVEY QUESTIONS

Q10.0   Please indicate whether you understand this name to be a
        brand name or a common name.

           -   Coke
           -   Jello
           -   Refrigerator
           -   Margarine
           -   American Airlines
           -   Gas Station
           -   Democratic National Convention
           -   Political Party Convention


Q11.0   Please indicate whether you understand this name to be a
        brand name or a common name.

           - Convention Center
           - Anime Expo
           - Comic-Con




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                          EXHIBIT 7, PAGE 137
                                  APPENDIX B

                SEQUENTIAL LISTING OF SURVEY RESPONSES


RESPID   1001                               PSID: ZKKH1030774367QY15WL
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1002                               PSID: WWA21030773301ZMI7NW
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1003                               PSID: W8Q11030773755TXDGNN
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 138
RESPID   1004                               PSID: 258M1030774895SSRBG5
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1005                               PSID: DL5U1030778662SZLAZ8
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1006                               PSID: 0LVP1030787577DH5XWI
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 139
RESPID   1007                               PSID: G9SS1030786224W1DMLW
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1008                               PSID: DTGH1030787542Q08OXB
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1009                               PSID: BOX21030791551FSQNFW
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 140
RESPID   1010                               PSID: 546V1030793091WWCCYR
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1011                               PSID: CVP41030794329VAO9B1
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Don’t know


RESPID   1012                               PSID: 0L571030794544JTFYES
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 141
RESPID   1013                               PSID: KTBE1030799482ESSOGK
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Don’t know


RESPID   1014                               PSID: QA1M1030809041IVUGT6
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1015                               PSID: TFKO1030815932IQRSMX
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 142
RESPID   1016                               PSID: MFY71030812877ZFDLY1
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1017                               PSID: B21Y1030815426PK3R7K
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1018                               PSID: V17J1030817831UDCR5G
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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RESPID   1019                               PSID: L4S41030815331EAI7UJ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1020                               PSID: F0T11030822676AHPSGY
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1021                               PSID: YXSG1030823621P9MJOE
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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RESPID   1022                               PSID: 8WDL1030822459Q3Z60
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1023                               PSID: EJ2A1030823642MST1RU
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1024                               PSID: OS5C1030822447UIZWWG
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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RESPID   1025                               PSID: 5UK51030817495MCZ1NY
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1026                               PSID: P6AH1030820414VAOP3R
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Don’t know


RESPID   1027                               PSID: 6BM11030825797ZXT2GA
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 146
RESPID   1028                               PSID: 7ZNN1030823466VECLMQ
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1029                               PSID: S71Z1030830748Y82UES
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1030                               PSID: CN8D1030828770GTDH8W
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 147
RESPID   1031                               PSID: OEX81030830129VWZ685
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1032                               PSID: F2311030836074WSKW37
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1033                               PSID: SQJK1030836373PAFUPR
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 148
RESPID   1034                               PSID: 3T6B1030836375IMBKWI
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1035                               PSID: 993D1030841085FWZWK3
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1036                               PSID: NB831030843241ZMOIXX
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 149
RESPID   1037                               PSID: 911W1030843790W7YY8Z
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1038                               PSID: YW3L1030843081MIXRJV
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1039                               PSID: OWJB1030846372MK1AHW
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Don’t know
           - Anime Expo                                 Brand name
           - Comic-Con                                  Don’t know




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                         EXHIBIT 7, PAGE 150
RESPID   1040                               PSID: X1H51030847730JQ9L0F
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1041                               PSID: B9041030853383V8UMOI
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1042                               PSID: GLCB1030852298I1F1YI
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 151
RESPID   1043                               PSID: MCOA1030832794CCL882
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1044                               PSID: IJIV1030864692KA1RZM
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1045                               PSID: GZ1E1030866109N8FWGU
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 152
RESPID   1046                               PSID: P4881030866752RBRX8C
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1047                               PSID: PYUU1030870588VIRBN2
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1048                               PSID: CEY61030863604YZKEUS
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Don’t know




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                         EXHIBIT 7, PAGE 153
RESPID   1049                               PSID: 90B21030867702GBM1LT
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1050                               PSID: 4QGX1030875670ISDSK5
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1051                               PSID: M36P1030877001M5MCXD
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 154
RESPID   1052                               PSID: NFHK1030882258Z8QNXU
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1053                               PSID: CGON1030894766V4Z43H
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Brand name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1054                               PSID: KHLK1030899614RBE16P
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 155
RESPID   1055                               PSID: 1AAZ1030901633L3RZOH
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1056                               PSID: CVUM1030788322RUIFYJ
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1057                               PSID: 8QAR1031190262NU31R1
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 156
RESPID   1058                               PSID: MPDF1031363132Z0W0AO
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1059                               PSID: QOZC1031665415TMSHG5
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1060                               PSID: 1HF01031690508BC0ES4
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 157
RESPID   1061                               PSID: 4L5Q1031713548GT01MQ
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1062                               PSID: H9H81031718552WGZ40V
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1063                               PSID: IFCX1031726518ET1B2F
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 158
RESPID   1064                               PSID: N5DP1031737124TA7SWP
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1065                               PSID: EFQ91031740984FIBZYS
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1066                               PSID: U5KE1031738604FWL2QG
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 159
RESPID   1067                               PSID: 5NX71031760504EU3FN3
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1068                               PSID: J2NJ1031784351IGJWXI
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1069                               PSID: SGDS1031801511CA38PS
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 160
RESPID   1070                               PSID: 6ZMX1031809069TTED3Q
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1071                               PSID: F1FN1031813881PVXN8D
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1072                               PSID: GG8Z1031827389UP5HMW
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 161
RESPID   1073                               PSID: WMS51031857978BCWFZC
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1074                               PSID: 45FH1031867801SRPQUR
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1075                               PSID: O4SH1031870421ZFAAY5
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 162
RESPID   1076                               PSID: WMVF1031876011ZJHIV4
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1077                               PSID: HKJU1031913917DPD6MM
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1078                               PSID: BNRZ1031921647F5WWK8
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 163
RESPID   1079                               PSID: RTEP1031931513ZXKU7Z
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1080                               PSID: EDX71031917977UKBFKA
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1081                               PSID: LTKV1031985227NP8HKI
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 164
RESPID   1082                               PSID: 9NZS1031998165HCZ39S
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1083                               PSID: HQGG1032000110L1977I
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1084                               PSID: 922N1032007489PLM6Male
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                          EXHIBIT 7, PAGE 165
RESPID   1085                               PSID: ADQ41031995572MYHRF9
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1086                               PSID: CAQ31032040514Q58ZG9
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1087                               PSID: 6G0F1032096063IUPSUQ
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 166
RESPID   1088                               PSID: ESNP1032195094XIAH17
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1089                               PSID: IUCM1032221138O4JP8G
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1090                               PSID: IMXE1032249329AO9BRK
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 167
RESPID   1091                               PSID: VWW21032518742DN4IXK
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1092                               PSID: ORQ01032627646HPEG4S
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1093                               PSID: Y0NB1032674776BDNM97
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 168
RESPID   1094                               PSID: UF961032713131KSHOU1
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1095                               PSID: 04E41032772798LPI4MN
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1096                               PSID: CC4Z1032797098ZLW9UZ
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 169
RESPID   1097                               PSID: 4IVJ1032810587GOL386
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1098                               PSID: 66BX1032877513SZVBOV
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1099                               PSID: H51N1033050357CEHZCC
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 170
RESPID   1100                               PSID: BPDR1033442557OE5L5A
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1101                               PSID: L0351033451168E19HUP
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1102                               PSID: SCAR1033933960Q7C4C9
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 171
RESPID   1103                               PSID: WM4I1048562826U5MVH3
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1104                               PSID: VN731048565576ZOS3CQ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1105                               PSID: 8SV01048564006ZF3CRT
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 172
RESPID   1106                               PSID: 0CXL1048571825PGI3VT
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1107                               PSID: 8VTD1048571400UAAM92
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1108                               PSID: Y1XC1048568658GA7DKW
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 173
RESPID   1109                               PSID: DPOA1048574868T6NVY8
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1110                               PSID: BNK61048573176FAE1LC
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1111                               PSID: B8LR1048571380JU5902
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




                                     B-38
                         EXHIBIT 7, PAGE 174
RESPID   1112                               PSID: AO0V1048573297QVV3TO
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Don’t know


RESPID   1113                               PSID: EUW91048582358EXO3BS
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1114                               PSID: T4XQ1048584725W696UU
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 175
RESPID   1115                               PSID: 6JRQ1048586317MF1QAB
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1116                               PSID: MWMG1048583269E8HOP4
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1117                               PSID: 0L6C1048587416N3CGBA
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 176
RESPID   1118                               PSID: 3TYR1048588664ZVLBOD
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1119                               PSID: 2TA51048592846KVZ3AH
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1120                               PSID: YY2S1048593840I0Q32C
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 177
RESPID   1121                               PSID: 02N21048594964EARHCS
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Common name


RESPID   1122                               PSID: P8MT1048597855AXFMP3
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1123                               PSID: 90EG1048572443Q5O34G
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 178
RESPID   1124                               PSID: Y9MK1048600720ZSA3AK
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1125                               PSID: PQQ31048605871BYONY2
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1126                               PSID: VBBD1048596896UNMDOQ
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 179
RESPID   1127                               PSID: LLTS1048619619FPAXDA
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1128                               PSID: 890G1048616982IFF1EW
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1129                               PSID: CPH91048627141HPOGWP
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 180
RESPID   1130                               PSID: 1L781048625045XJMD68
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Don’t know
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1131                               PSID: CQ2U1048619479SEWH6B
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1132                               PSID: JV331048628433NMU98Y
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 181
RESPID   1133                               PSID: 79071048629669B1UEH0
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1134                               PSID: 5V491048626985GTO4JA
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1135                               PSID: 44NK1048627920IF9DJS
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 182
RESPID   1136                               PSID: W1AF1048629743FBQ3Y2
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1137                               PSID: 4NZM1048628315VKRQP0
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Don’t know


RESPID   1138                               PSID: 5KJW1048633564PACELH
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 183
RESPID   1139                               PSID: 52Z91048631986HIZ9SK
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1140                               PSID: 0HAE1048634520Q5LSHU
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1141                               PSID: 1VB61048631824G5J16K
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 184
RESPID   1142                               PSID: RU621048636684O7WEHU
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1143                               PSID: 42XU1048638802PJ0ARG
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1144                               PSID: F1O41048641199SW3IDM
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 185
RESPID   1145                               PSID: CDMB1048637951GMU5A9
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1146                               PSID: FDTE1048638107IHACLL
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1147                               PSID: K54N1048642847AO5GTV
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




                                     B-50
                         EXHIBIT 7, PAGE 186
RESPID   1148                               PSID: PDGM1048642164HTL1A3
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1149                               PSID: K0Q41048644682L53I3R
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1150                               PSID: QWZR1048645258NX2KPW
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name




                                     B-51
                         EXHIBIT 7, PAGE 187
RESPID   1151                               PSID: C2V31048644500V7VZOU
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1152                               PSID: W9VP1048647670PB84MM
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Don’t know


RESPID   1153                               PSID: J3631048647612WE37XR
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




                                     B-52
                         EXHIBIT 7, PAGE 188
RESPID   1154                               PSID: 2TWC1048648891IKAOBO
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1155                               PSID: EZFY1048651706HKFNQ4
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1156                               PSID: EK2R1048629892XQU94M
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




                                     B-53
                         EXHIBIT 7, PAGE 189
RESPID   1157                               PSID: F2JG1048650642Z0BCNU
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1158                               PSID: T6AY1048655456G1N9N2
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1159                               PSID: ZJVZ1048658570CASDQN
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




                                     B-54
                         EXHIBIT 7, PAGE 190
RESPID   1160                               PSID: SPJ41048661450BKIAK4
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1161                               PSID: 4HH51048651411Z2257O
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1162                               PSID: BFX21048668047YNHRKY
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




                                     B-55
                         EXHIBIT 7, PAGE 191
RESPID   1163                               PSID: I5QG1048665472CVP7PT
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1164                               PSID: 3GQ41048671334F371WI
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1165                               PSID: DRZT1048662665EYY6WW
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 192
RESPID   1166                               PSID: UE5Y1048678844B19PV1
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1167                               PSID: P3K41048668861YTPYIS
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1168                               PSID: N7LI1048678226KJI3Q5
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 193
RESPID   1169                               PSID: HTEA1048682900K8EG9J
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1170                               PSID: 4AT91048681969SHYQKF
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1171                               PSID: OOC31048679334J3VIBC
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 194
RESPID   1172                               PSID: 49MZ1048702945W5OKL6
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1173                               PSID: BN4O1048701957TYVI13
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1174                               PSID: 1DXB1048702032IQBXKY
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 195
RESPID   1175                               PSID: JP681048703775HNDZ8S
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1176                               PSID: EHDQ1048702389CL7S2J
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1177                               PSID: T7N11048686204BFONJX
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 196
RESPID   1178                               PSID: Y26Z1048631708P2068C
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1179                               PSID: HDRZ1048714908J99O6N
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1180                               PSID: MC1B1048713731UITSIK
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Don’t know




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                         EXHIBIT 7, PAGE 197
RESPID   1181                               PSID: MEI41048715762JT85QR
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Don’t know


RESPID   1182                               PSID: NOSG1048720369GSLMH6
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1183                               PSID: 59Y81048722609L287HN
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 198
RESPID   1184                               PSID: XW4S1048723122ZJ9TPQ
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1185                               PSID: S0021048725416YK35EZ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1186                               PSID: W3LW1048731922RQ76JU
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 199
RESPID   1187                               PSID: OQN51048738752FIPHTJ
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Don’t know
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Don’t know
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1188                               PSID: HTQK1048742397ULX24H
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1189                               PSID: FPN31048739432CK3OEA
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 200
RESPID   1190                               PSID: K1VL1048742207B6VDU2
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1191                               PSID: RZNP1048740464M03BYH
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1192                               PSID: GYD71048745640GYK9KL
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Don’t know




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                         EXHIBIT 7, PAGE 201
RESPID   1193                               PSID: 59AN1048749140OBTZ7T
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1194                               PSID: 9FBS1048749284AAFI06
Q1.0     Gender: Female
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1195                               PSID: 30351048760014HV4P71
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 202
RESPID   1196                               PSID: T64W1048770310E6BT8V
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1197                               PSID: GMDZ1048769602R4YK0M
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1198                               PSID: O9X61048772499D809NB
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 203
RESPID   1199                               PSID: H3YA1048790694F6UW26
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1200                               PSID: 53JB1048787959KCG5AM
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1201                               PSID: JZSE1048796307M7L8VP
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 204
RESPID   1202                               PSID: P5MN1048812151K63UAT
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1203                               PSID: SDS21048821942MRF3V9
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1204                               PSID: BC9D1048826913DX8MXN
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 205
RESPID   1205                               PSID: 91IG1048831221IETI0B
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1206                               PSID: VUBF1048836843BUG8MR
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1207                               PSID: Z9QG1048840642M5QNIO
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 206
RESPID   1208                               PSID: 7YUB1048839265A4DM19
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Don’t know


RESPID   1209                               PSID: YMDZ1048864336KKP026
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1210                               PSID: R39J1048879651ENMMZO
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 207
RESPID   1211                               PSID: CSUV1048884163DAC2LT
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1212                               PSID: VL271048893259G5RUBU
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1213                               PSID: 3SO91048895695EB2LLH
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 208
RESPID   1214                               PSID: DHQK1048895082NTU17P
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1215                               PSID: 35T31048790353ZHWG2S
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1216                               PSID: 8RK61048899610VXTNBE
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 209
RESPID   1217                               PSID: IRLQ1048903018R3S5BF
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1218                               PSID: WG7H1048895635S278CQ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Don’t know
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1219                               PSID: R6OU1048908701YSPLVF
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Don’t know
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 210
RESPID   1220                               PSID: U83G1048918594VIVZBK
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1221                               PSID: BPXW1048927189PA5H6F
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1222                               PSID: 0N701048930970XI5QYZ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 211
RESPID   1223                               PSID: 2Z9X1048931950B04J3F
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1224                               PSID: TC7Y1048939244V162SI
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1225                               PSID: 1EDO1048938663GR96TZ
Q1.0     Gender: Male
Q1.1     Age: 55 or over
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 212
RESPID   1226                               PSID: NX3F1048945312T5KZRF
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1227                               PSID: 261Q1048955129SHJUSI
Q1.0     Gender: Female
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1228                               PSID: HP9X1048958127DWUMAX
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 213
RESPID   1229                               PSID: RY0M1048958638PHDLPM
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1230                               PSID: 83I41048962210Z3FO7A
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1231                               PSID: VX901048972451N1TF59
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 214
RESPID   1232                               PSID: D60D1048984478LL25PW
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1233                               PSID: OTLN1048986309YEWWEN
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1234                               PSID: GCP51049000705DWA96M
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 215
RESPID   1235                               PSID: UIRD1049012740BCQU37
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Don’t know
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1236                               PSID: E9EU1049023782TPJWVG
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1237                               PSID: NWVS1049024155TVGKLF
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 216
RESPID   1238                               PSID: 06XT1049026291J0MR0V
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1239                               PSID: R6O11049036841DANWLQ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1240                               PSID: 1FY11049040911VCNQFQ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 217
RESPID   1241                               PSID: P61O1049047331JPHGCommon name
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1242                               PSID: JBZ31049050387SUQ009
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1243                               PSID: UGDV1049082899E9EI0Q
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                             EXHIBIT 7, PAGE 218
RESPID   1244                               PSID: 3YQ61049049092FMNTWK
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1245                               PSID: 3EXN1049106580FC1LBE
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Common name
           - Gas Station                                Brand name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1246                               PSID: B1Y41049113261XVHXUR
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 219
RESPID   1247                               PSID: AP5W1049114279AD7LAK
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1248                               PSID: L9QQ1049120499O9X5H3
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1249                               PSID: 40291049120395F72EEG
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 220
RESPID   1250                               PSID: FFGD1049122123BS2YDD
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1251                               PSID: VVZ61049126430Q2GQ07
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1252                               PSID: 8Q1R1049130357JRGH6R
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Don’t know
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 221
RESPID   1253                               PSID: T5M71049132475UVHIBW
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1254                               PSID: OU0T1049138936DFXCFS
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1255                               PSID: HBOG1049141840N2UVVF
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Don’t know
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 222
RESPID   1256                               PSID: M7CJ1049142481Z453FH
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1257                               PSID: N9AN1049145226DW16CD
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1258                               PSID: IVLE1049149042SERYW3
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 223
RESPID   1259                               PSID: 7DRW1049150726VF95IE
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1260                               PSID: WCG21049158929U00LCC
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1261                               PSID: 81891049160997UTB1AY
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 224
RESPID   1262                               PSID: 17S51049164494W803TE
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1263                               PSID: QSTH1049171212BRR9P3
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1264                               PSID: QBMH1049170298VPM3ED
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 225
RESPID   1265                               PSID: VRGD1049188152PFX5MB
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1266                               PSID: 7ZLQ1049205321W1YEHE
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1267                               PSID: GIHO1049222592R5RX8K
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 226
RESPID   1268                               PSID: FJ6Z1049226493SMGRAI
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1269                               PSID: TNDK1049230659L5QQ24
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1270                               PSID: YYR21049238429CI1BE7
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Don’t know
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 227
RESPID   1271                               PSID: CBOR1049182884SN5WPO
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1272                               PSID: 4HAW1049253350ZF4Y5L
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1273                               PSID: MYVU1049260818JSGS75
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 228
RESPID   1274                               PSID: SV9N1049281228M7SNZI
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1275                               PSID: 5WXY1049285646KYPOGB
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1276                               PSID: CZJ31049281612RAVSU4
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 229
RESPID   1277                               PSID: PUSS1049296935V2C79B
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1278                               PSID: HCN41049305156TMETFW
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1279                               PSID: KFIT1049305290C4WN1J
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 230
RESPID   1280                               PSID: HVYZ1049307094X9Y5L6
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1281                               PSID: 6GU21049308035RDC6HH
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1282                               PSID: EUA01049309514TE28DZ
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 231
RESPID   1283                               PSID: SD2F1049310690VQ0HU7
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1284                               PSID: HQJO1049316304QG9M16
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1285                               PSID: OP4W1049314274B0BTJ5
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 232
RESPID   1286                               PSID: 20W51049341996MC6RZN
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1287                               PSID: HI901049352315K2L6CD
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1288                               PSID: 55YK1049350879L2IPCO
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 233
RESPID   1289                               PSID: T69E1049355914C3ORKJ
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1290                               PSID: HUU81049353257JYXP7B
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1291                               PSID: 6JFA1049368031S0F8F8
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 234
RESPID   1292                               PSID: Y7ZS1049368812E6SAFN
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1293                               PSID: MFM11049353327SNP5OS
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1294                               PSID: 5PHP1049379023FS2IQ5
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Brand name
           - Margarine                                  Brand name
           - American Airlines                          Common name
           - Gas Station                                Brand name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 235
RESPID   1295                               PSID: IZHM1049380565RXLQTY
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1296                               PSID: X9UH1049385394DX2NKO
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1297                               PSID: 4N0G1049389530Q7RFF1
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 236
RESPID   1298                               PSID: D17U1049400027X8N1AW
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1299                               PSID: LRMZ1049398438DYSARU
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1300                               PSID: P8571049399906RFTDSV
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 237
RESPID   1301                               PSID: CCDG1049407998UB9GY4
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1302                               PSID: WT4L1049407814NV3EYD
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1303                               PSID: UHS51049406893MLAFAN
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 238
RESPID   1304                               PSID: MYU21049414165GANM6D
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1305                               PSID: Q7GP1049414703KLZXN9
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1306                               PSID: NL4Z1049422556LKHPQA
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 239
RESPID   1307                               PSID: 95AT1049426888HQWTBS
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1308                               PSID: D6YY1049428630K9EDUI
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1309                               PSID: YR051049431376I0TIJI
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 240
RESPID   1310                               PSID: DFAZ1049432595MHTGOS
Q1.0     Gender: Male
Q1.1     Age: 35 to 54
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Brand name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1311                               PSID: J2RX1049452161MKZNYZ
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1312                               PSID: IJRO1049464024AQXY34
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 241
RESPID   1313                               PSID: OSIP1049476095O2G02P
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1314                               PSID: OBV41049477649L3E77K
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1315                               PSID: XEXG1049544946T4AGWG
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 242
RESPID   1316                               PSID: Z2V91049551210WV2JDN
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1317                               PSID: RC0K1049565180F2EN0W
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1318                               PSID: 1IWB1049644133VDDPJD
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 243
RESPID   1319                               PSID: ODBV1049887496LXVVZQ
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1320                               PSID: FF3I1049905111YW0DOW
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1321                               PSID: N50H1049985255MKWBDT
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 244
RESPID   1322                               PSID: EP0N1050047438J98SI5
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1323                               PSID: RRVZ1050045387SEXIY9
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1324                               PSID: TADW1050059956ZIO55S
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 245
RESPID   1325                               PSID: ZWAO1050063103AVX9O6
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1326                               PSID: SYCR1050179653U4XBIN
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1327                               PSID: 3D5B1050208826J5Y9UE
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 246
RESPID   1328                               PSID: K7J21050210176XZ812O
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1329                               PSID: LOGA1050220759ESI9ZH
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1330                               PSID: MKQ11050250695BV7V08
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 247
RESPID   1331                               PSID: ZY2Y1050256852L6AJK7
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1332                               PSID: X99G1050271925ZJFT7Y
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1333                               PSID: CPHH1050277167G8IBOF
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 248
RESPID   1334                               PSID: 99991050277466LB5QK8
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1335                               PSID: GSVI1050284173K3YXIK
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1336                               PSID: THJZ1050300183Z55DD1
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 249
RESPID   1337                               PSID: NRLU1050300766W3KEJ9
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1338                               PSID: W13S1050324000VU0DCJ
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1339                               PSID: 35VB1050361511H1WYWS
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 250
RESPID   1340                               PSID: 4SAJ1050379932EBUQ0J
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1341                               PSID: K4HH1050391453PXJKDL
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1342                               PSID: 04PM1050396514X91OYJ
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 251
RESPID   1343                               PSID: VDD41050405830T7512N
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1344                               PSID: DW6J1050417991HPV1TZ
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Common name
           - Gas Station                                Brand name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1345                               PSID: K1Z91050438976AMH3QS
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 252
RESPID   1346                               PSID: C5DD1050458734FH46P5
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1347                               PSID: VT9O1050458761GLQAFemale
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1348                               PSID: ES0I1050480158N9GYWest
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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                           EXHIBIT 7, PAGE 253
RESPID   1349                               PSID: 7N991050528598OAA0FC
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1350                               PSID: 8TBO1050527401SNFVYX
Q1.0     Gender: Female
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1351                               PSID: MSJJ1050655059SRA239
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 254
RESPID   1352                               PSID: UER11050876723G5LUKS
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1353                               PSID: T60I1051038929JAJCMB
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1354                               PSID: OLTT1051475464CYN57U
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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                         EXHIBIT 7, PAGE 255
RESPID   1355                               PSID: XSS31051498389I9ALIJ
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1356                               PSID: UYZ61051519941TZ1U0T
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1357                               PSID: B9AB1051701886YO9VPT
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 256
RESPID   1358                               PSID: TODD1051905603URQK0O
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1359                               PSID: QWTT1051909186CYN2P8
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1360                               PSID: 7CZR1052098449DMS64F
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 257
RESPID   1361                               PSID: 2QA51052436443FPCL0D
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1362                               PSID: QBUI1052472751YT9IHJ
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1363                               PSID: 6RFG1052490872F7PL90
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 258
RESPID   1364                               PSID: 1UXT1052572416EJITUA
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1365                               PSID: L86E1052689558F82UFX
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1366                               PSID: 3FBK1052709000PKI7B9
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 259
RESPID   1367                               PSID: OMTI1052899973YKY3TT
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Don’t know
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1368                               PSID: ESHS1052954585D7AIDY
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1369                               PSID: 1XFB1053035909H2FJ0K
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 260
RESPID   1370                               PSID: SWLT1053086796RBWG7U
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1371                               PSID: NBX51053085513BLX6XR
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1372                               PSID: GLI31053223859QBL7ES
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 261
RESPID   1373                               PSID: YEWI1053235873EK3L89
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Don’t know
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1374                               PSID: Z5EU1053235655CYAOWM
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Don’t know
           - Jello                                      Common name
           - Refrigerator                               Brand name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Brand name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1375                               PSID: DVCG1053294890UMPGPO
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 262
RESPID   1376                               PSID: Q5QH1053342019GDUO8D
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Don’t know
           - Political Party Convention                 Don’t know
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Common name


RESPID   1377                               PSID: DQ5A1053506233NY10IB
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1378                               PSID: QPUB1053611875TR800Q
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 263
RESPID   1379                               PSID: NRQ81053630576FAP42C
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: South
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1380                               PSID: XNOC1053967833BCPM8J
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1381                               PSID: NI1O1054021988W4OQ4P
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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                         EXHIBIT 7, PAGE 264
RESPID   1382                               PSID: PHNS1054151220PLX6VS
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Common name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1383                               PSID: GFER1054219774SI76XU
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1384                               PSID: XHNA1054222347Y7JEMS
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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RESPID   1385                               PSID: 62GV1054408442JV2EIL
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Don’t know
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Don’t know


RESPID   1386                               PSID: JPH31054528180SLN972
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1387                               PSID: CSP51054584144R0GQ5M
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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RESPID   1388                               PSID: CS6I1054705759IKSTFI
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1389                               PSID: 94BY1054715122SVZJII
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1390                               PSID: 6A2P1054720273WP6QOC
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Don’t know
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name




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RESPID   1391                               PSID: L2AH1054733755YVKXF4
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1392                               PSID: QG011054727254ECZ2SY
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1393                               PSID: Z18N1054761044EO9CAV
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Common name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Brand name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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RESPID   1394                               PSID: NJT91054764962BEHL67
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1395                               PSID: TO5U1054790077A5TIN2
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1396                               PSID: UD7V1054795124TTSG17
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Northeast
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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RESPID   1397                               PSID: V48I1054798388JQ6F84
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1398                               PSID: GDGL1054801197USZMTW
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1399                               PSID: NMXH1054806242WTM56L
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Common name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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RESPID   1400                               PSID: 8BSL1054805925PE1E7P
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name


RESPID   1401                               PSID: QE3R1054819809MY31FP
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name


RESPID   1402                               PSID: D6R11054821757G2CWPR
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Common name
           - Comic-Con                                  Brand name




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RESPID   1403                               PSID: P1CG1054821892TSCR8H
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: Midwest
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name


RESPID   1404                               PSID: 008R1054830524PSXNGU
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Don’t know
           - Comic-Con                                  Brand name


RESPID   1405                               PSID: BLG91054839316V3KUWZ
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Common name
           - Refrigerator                               Common name
           - Margarine                                  Brand name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Brand name
Q11.0    [Brand name or common name]
           - Convention Center                          Common name
           - Anime Expo                                 Brand name
           - Comic-Con                                  Brand name




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RESPID   1406                               PSID: ZG2U1054907041RNFB6B
Q1.0     Gender: Male
Q1.1     Age: 18 to 34
Q2.0     Census region: West
Q10.0    [Brand name or common name]
           - Coke                                       Brand name
           - Jello                                      Brand name
           - Refrigerator                               Common name
           - Margarine                                  Common name
           - American Airlines                          Brand name
           - Gas Station                                Common name
           - Democratic National Convention             Brand name
           - Political Party Convention                 Common name
Q11.0    [Brand name or common name]
           - Convention Center                          Brand name
           - Anime Expo                                 Common name
           - Comic-Con                                  Common name




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Appendix C




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   APPENDIX C

  SCREEN SHOTS




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Appendix D




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                              APPENDIX D

                 FINAL SAMPLE DISPOSITION REPORT




(A) Total Participants                                     5,273

(B) Completed Interviews                                     406

(C) Terminates (not qualified)                             4,867
      Q1.1 Under 18 or age not verifiable                    916
      Q2.0 Census region - other                              17
      Q3.0/Q3.1 Have not attended convention/not likely
                 to attend convention                      3,625
      Q4.0 Not using appropriate device                       73
      Q5.0 Employment restrictions                            52
      Q6.0 Did not agree to answer questions by self          10
      Q6.1 Did not agree to answer questions without
            seeking additional source                         --
      Q7.1 Did not agree to wear glasses/contact lenses       --
      Q8.0 Chose incorrect number                              4
      Q9.0 Unable to define brand name                       124
      Q9.1 Unable to define common brand name                 46

(D) Qualified Incompletes                                     --

(E) Total Responding                                        5,273


Qualification rate = (E-C)/(E)                             7.70%

Completion rate = (B)/(B+D)                               100.00%

Response rate = (E)/(A)                                   100.00%




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Appendix E




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        APPENDIX E

     SURVEY DATA FILE



DATA FILE IS ELECTRONICALLY
 ATTACHED TO THIS PDF FILE




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EXHIBIT 7, PAGE 310
QNUM    PSID                   AGE Q1_0 Q1_1_M Q1_1_D Q1_1_Y CALCYEAR VERIFY_AGE AGE_GROUPS M18_34   F18_34 M35_54 F35_54 M55OVER F55OVER Q2_0
 1001   ZKKH1030774367QY15WL     58   1       3      3   1958     1958          0          4                                     1           4
 1002   WWA21030773301ZMI7NW     41   1       7     19   1974     1975          1          3                1                                2
 1003   W8Q11030773755TXDGNN     33   2       1      1   1983     1983          0          2         1                                       1
 1004   258M1030774895SSRBG5     26   1       1     14   1990     1990          0          21                                                4
 1005   DL5U1030778662SZLAZ8     27   2       3     29   1988     1989          1          2         1                                       4
 1006   0LVP1030787577DH5XWI     36   1       4     11   1979     1980          1          3                1                                1
 1007   G9SS1030786224W1DMLW     33   2       3     11   1983     1983          0          2         1                                       3
 1008   DTGH1030787542Q08OXB     41   1      12     19   1974     1975          1          3                1                                4
 1009   BOX21030791551FSQNFW     45   1      12      4   1970     1971          1          3                1                                3
 1010   546V1030793091WWCCYR     45   1       6      5   1970     1971          1          3                1                                4
 1011   CVP41030794329VAO9B1     50   1       4      4   1965     1966          1          3                1                                2
 1012   0L571030794544JTFYES     29   2      10     28   1986     1987          1          2         1                                       2
 1013   KTBE1030799482ESSOGK     27   1       7     13   1988     1989          1          21                                                1
 1014   QA1M1030809041IVUGT6     40   1       3     22   1975     1976          1          3                1                                1
 1015   TFKO1030815932IQRSMX     24   2       5      3   1991     1992          1          2         1                                       4
 1016   MFY71030812877ZFDLY1     41   1       5      5   1974     1975          1          3                1                                1
 1017   B21Y1030815426PK3R7K     41   2       3     12   1976     1975         -1          3                       1                         3
 1018   V17J1030817831UDCR5G     31   1       2     14   1984     1985          1          21                                                2
 1019   L4S41030815331EAI7UJ     46   1      11      7   1969     1970          1          3                1                                3
 1020   F0T11030822676AHPSGY     24   2       2      9   1992     1992          0          2         1                                       2
 1021   YXSG1030823621P9MJOE     51   2       5      9   1964     1965          1          3                       1                         1
 1022   8WDL1030822459Q03Z60     70   1       5      7   1945     1946          1          4                                     1           3
 1023   EJ2A1030823642MST1RU     67   2       9     22   1948     1949          1          4                                       1         3
 1024   OS5C1030822447UIZWWG     57   2       8      1   1958     1959          1          4                                       1         3
 1025   5UK51030817495MCZ1NY     49   2       5      6   1966     1967          1          3                       1                         2
 1026   P6AH1030820414VAOP3R     58   1       3      9   1958     1958          0          4                                     1           3
 1027   6BM11030825797ZXT2GA     35   2      12      1   1980     1981          1          3                       1                         4
 1028   7ZNN1030823466VECLMQ     58   1       3      4   1958     1958          0          4                                     1           1
 1029   S71Z1030830748Y82UES     25   1       5     10   1990     1991          1          21                                                4
 1030   CN8D1030828770GTDH8W     41   1       2      1   1975     1975          0          3                1                                4
 1031   OEX81030830129VWZ685     41   1       8     31   1974     1975          1          3                1                                1
 1032   F2311030836074WSKW37     67   1       6     25   1948     1949          1          4                                     1           1
 1033   SQJK1030836373PAFUPR     36   2       5      6   1979     1980          1          3                       1                         3
 1034   3T6B1030836375IMBKWI     37   2      11     18   1978     1979          1          3                       1                         3
 1035   993D1030841085FWZWK3     57   2       7     25   1958     1959          1          4                                       1         1
 1036   NB831030843241ZMOIXX     59   1       6      2   1956     1957          1          4                                     1           3




                                                               EXHIBIT 7, PAGE 311
1037   911W1030843790W7YY8Z   35   2   12   17   1980     1981          1     3               1       4
1038   YW3L1030843081MIXRJV   52   2   11    3   1963     1964          1     3               1       2
1039   OWJB1030846372MK1AHW   53   1    3   13   1963     1963          0     3           1           3
1040   X1H51030847730JQ9L0F   45   2   10   23   1970     1971          1     3               1       1
1041   B9041030853383V8UMOI   37   1    4    9   1978     1979          1     3           1           3
1042   GLCB1030852298I1F1YI   50   2   12   10   1965     1966          1     3               1       1
1043   MCOA1030832794CCL882   38   2    7   19   1977     1978          1     3               1       4
1044   IJIV1030864692KA1RZM   46   1    7   11   1969     1970          1     3           1           2
1045   GZ1E1030866109N8FWGU   53   2   12   21   1962     1963          1     3               1       2
1046   P4881030866752RBRX8C   59   2    6   23   1956     1957          1     4                   1   2
1047   PYUU1030870588VIRBN2   37   1    9   19   1978     1979          1     3           1           3
1048   CEY61030863604YZKEUS   33   2    8    8   1982     1983          1     2       1               3
1049   90B21030867702GBM1LT   29   2    9    1   1987     1987          0     2       1               4
1050   4QGX1030875670ISDSK5   32   2    2   16   1984     1984          0     2       1               2
1051   M36P1030877001M5MCXD   72   2    3   27   1943     1944          1     4                   1   4
1052   NFHK1030882258Z8QNXU   67   2    7    6   1948     1949          1     4                   1   1
1053   CGON1030894766V4Z43H   34   1    2    4   1982     1982          0     2   1                   3
1054   KHLK1030899614RBE16P   49   1   12   12   1966     1967          1     3           1           2
1055   1AAZ1030901633L3RZOH   29   2   12   12   1986     1987          1     2       1               1
1056   CVUM1030788322RUIFYJ   31   1    1    8   1985     1985          0     2   1                   3
1057   8QAR1031190262NU31R1   27   2    6   29   1988     1989          1     2       1               4
1058   MPDF1031363132Z0W0AO   45   1   12   17   1970     1971          1     3           1           3
1059   QOZC1031665415TMSHG5   48   1   11   11   1967     1968          1     3           1           3
1060   1HF01031690508BC0ES4   25   2    7    1   1990     1991          1     2       1               3
1061   4L5Q1031713548GT01MQ   25   1    5   30   1990     1991          1     2   1                   3
1062   H9H81031718552WGZ40V   32   2    9    3   1983     1984          1     2       1               2
1063   IFCX1031726518ET1B2F   30   1   10   21   1985     1986          1     2   1                   2
1064   N5DP1031737124TA7SWP   27   2    5   10   1988     1989          1     2       1               3
1065   EFQ91031740984FIBZYS   30   1   10    3   1987     1986         -1     2   1                   3
1066   U5KE1031738604FWL2QG   26   1    8   10   1989     1990          1     2   1                   3
1067   5NX71031760504EU3FN3   32   1    7   20   1983     1984          1     2   1                   3
1068   J2NJ1031784351IGJWXI   28   1   10   24   1987     1988          1     2   1                   2
1069   SGDS1031801511CA38PS   31   2    1    4   1985     1985          0     2       1               3
1070   6ZMX1031809069TTED3Q   21   1    2   13   1995     1995          0     2   1                   3
1071   F1FN1031813881PVXN8D   32   1    6    7   1983     1984          1     2   1                   2
1072   GG8Z1031827389UP5HMW   30   2   12   30   1985     1986          1     2       1               3
1073   WMS51031857978BCWFZC   28   2    6   21   1987     1988          1     2       1               1




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1074   45FH1031867801SRPQUR   30   2    1   30   1986     1986          0     2       1                   3
1075   O4SH1031870421ZFAAY5   31   1   12    5   1984     1985          1     2   1                       3
1076   WMVF1031876011ZJHIV4   32   2    3    5   1984     1984          0     2       1                   3
1077   HKJU1031913917DPD6MM   25   2    3   23   1991     1991          0     2       1                   4
1078   BNRZ1031921647F5WWK8   29   2    6   26   1986     1987          1     2       1                   4
1079   RTEP1031931513ZXKU7Z   34   2    9   14   1981     1982          1     2       1                   3
1080   EDX71031917977UKBFKA   30   1    5   27   1985     1986          1     2   1                       4
1081   LTKV1031985227NP8HKI   28   2   12   22   1987     1988          1     2       1                   3
1082   9NZS1031998165HCZ39S   27   2    1    4   1989     1989          0     2       1                   3
1083   HQGG1032000110L1977I   31   2   10   29   1984     1985          1     2       1                   3
1084   922N1032007489PLM61W   31   2   12   17   1984     1985          1     2       1                   1
1085   ADQ41031995572MYHRF9   34   1    2   22   1982     1982          0     2   1                       3
1086   CAQ31032040514Q58ZG9   25   2    1   24   1991     1991          0     2       1                   4
1087   6G0F1032096063IUPSUQ   29   2   10   29   1986     1987          1     2       1                   1
1088   ESNP1032195094XIAH17   29   1    6   30   1986     1987          1     2   1                       4
1089   IUCM1032221138O4JP8G   26   2    2    4   1990     1990          0     2       1                   1
1090   IMXE1032249329AO9BRK   27   2   11    9   1988     1989          1     2       1                   1
1091   VWW21032518742DN4IXK   28   1    8   20   1987     1988          1     2   1                       2
1092   ORQ01032627646HPEG4S   22   1    3   13   1995     1994         -1     2   1                       4
1093   Y0NB1032674776BDNM97   25   1    9    5   1990     1991          1     2   1                       2
1094   UF961032713131KSHOU1   31   1    6   15   1984     1985          1     2   1                       4
1095   04E41032772798LPI4MN   20   1    1    7   1996     1996          0     2   1                       2
1096   CC4Z1032797098ZLW9UZ   26   1    6   23   1989     1990          1     2   1                       4
1097   4IVJ1032810587GOL386   34   1    2   23   1982     1982          0     2   1                       4
1098   66BX1032877513SZVBOV   26   1    2    2   1990     1990          0     2   1                       2
1099   H51N1033050357CEHZCC   33   1   12   19   1982     1983          1     2   1                       2
1100   BPDR1033442557OE5L5A   30   1    9    4   1985     1986          1     2   1                       4
1101   L0351033451168E19HUP   25   1   11    1   1991     1991          0     2   1                       4
1102   SCAR1033933960Q7C4C9   23   1    5   21   1992     1993          1     2   1                       4
1103   WM4I1048562826U5MVH3   66   1   11   21   1949     1950          1     4                   1       2
1104   VN731048565576ZOS3CQ   42   1   11   27   1973     1974          1     3           1               2
1105   8SV01048564006ZF3CRT   54   1    4    4   1961     1962          1     3           1               2
1106   0CXL1048571825PGI3VT   34   1    7   11   1981     1982          1     2   1                       3
1107   8VTD1048571400UAAM92   52   1    7   11   1963     1964          1     3           1               1
1108   Y1XC1048568658GA7DKW   64   2    2    6   1952     1952          0     4                       1   3
1109   DPOA1048574868T6NVY8   35   2    1   22   1981     1981          0     3               1           2
1110   BNK61048573176FAE1LC   62   2    2   15   1954     1954          0     4                       1   1




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1111   B8LR1048571380JU5902   45   2    9   29   1970     1971          1     3               1           3
1112   AO0V1048573297QVV3TO   64   2    1   19   1952     1952          0     4                       1   2
1113   EUW91048582358EXO3BS   39   2    7    1   1976     1977          1     3               1           3
1114   T4XQ1048584725W696UU   52   1   11   24   1963     1964          1     3           1               2
1115   6JRQ1048586317MF1QAB   25   1    7    8   1990     1991          1     2   1                       1
1116   MWMG1048583269E8HOP4   60   2    3   25   1956     1956          0     4                       1   4
1117   0L6C1048587416N3CGBA   41   2   12   10   1974     1975          1     3               1           2
1118   3TYR1048588664ZVLBOD   24   2    9   23   1991     1992          1     2       1                   4
1119   2TA51048592846KVZ3AH   58   2   12    1   1957     1958          1     4                       1   1
1120   YY2S1048593840I0Q32C   36   2    1    1   1980     1980          0     3               1           3
1121   02N21048594964EARHCS   38   2    8    4   1977     1978          1     3               1           4
1122   P8MT1048597855AXFMP3   45   2    2    2   1971     1971          0     3               1           1
1123   90EG1048572443Q5O34G   30   2   10    1   1985     1986          1     2       1                   4
1124   Y9MK1048600720ZSA3AK   26   1    8    9   1989     1990          1     2   1                       3
1125   PQQ31048605871BYONY2   35   2    9    6   1980     1981          1     3               1           4
1126   VBBD1048596896UNMDOQ   54   2    3    5   1962     1962          0     3               1           1
1127   LLTS1048619619FPAXDA   54   1   11   27   1961     1962          1     3           1               4
1128   890G1048616982IFF1EW   68   2    9   26   1947     1948          1     4                       1   2
1129   CPH91048627141HPOGWP   53   1   12    3   1962     1963          1     3           1               1
1130   1L781048625045XJMD68   27   2   12   14   1988     1989          1     2       1                   3
1131   CQ2U1048619479SEWH6B   40   1   12   23   1975     1976          1     3           1               1
1132   JV331048628433NMU98Y   31   2    6   12   1984     1985          1     2       1                   4
1133   79071048629669B1UEH0   60   2   10   20   1956     1956          0     4                       1   4
1134   5V491048626985GTO4JA   31   2   10   20   1986     1985         -1     2       1                   2
1135   44NK1048627920IF9DJS   27   1    4    4   1988     1989          1     2   1                       3
1136   W1AF1048629743FBQ3Y2   52   2    5   11   1963     1964          1     3               1           4
1137   4NZM1048628315VKRQP0   69   1   12   31   1946     1947          1     4                   1       3
1138   5KJW1048633564PACELH   40   2    2   11   1976     1976          0     3               1           3
1139   52Z91048631986HIZ9SK   56   2   12   14   1959     1960          1     4                       1   1
1140   0HAE1048634520Q5LSHU   43   2   10   26   1972     1973          1     3               1           3
1141   1VB61048631824G5J16K   54   2   11    1   1961     1962          1     3               1           1
1142   RU621048636684O7WEHU   52   1    9    9   1963     1964          1     3           1               1
1143   42XU1048638802PJ0ARG   31   2   12   18   1984     1985          1     2       1                   2
1144   F1O41048641199SW3IDM   59   2    3   31   1956     1957          1     4                       1   2
1145   CDMB1048637951GMU5A9   56   1   10   29   1959     1960          1     4                   1       2
1146   FDTE1048638107IHACLL   18   1    7    4   1997     1998          1     2   1                       3
1147   K54N1048642847AO5GTV   24   2   11    4   1991     1992          1     2       1                   2




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1148   PDGM1048642164HTL1A3   34   2    5    9   1981     1982          1     2   1                   4
1149   K0Q41048644682L53I3R   56   1    1   26   1960     1960          0     4               1       3
1150   QWZR1048645258NX2KPW   46   1    7   10   1969     1970          1     3       1               1
1151   C2V31048644500V7VZOU   56   2    1    1   1960     1960          0     4                   1   3
1152   W9VP1048647670PB84MM   46   2    9   19   1969     1970          1     3           1           1
1153   J3631048647612WE37XR   23   2   10   23   1992     1993          1     2   1                   3
1154   2TWC1048648891IKAOBO   26   2    1    6   1990     1990          0     2   1                   3
1155   EZFY1048651706HKFNQ4   62   2    6   24   1953     1954          1     4                   1   2
1156   EK2R1048629892XQU94M   63   1    7    7   1952     1953          1     4               1       4
1157   F2JG1048650642Z0BCNU   67   1    9   16   1948     1949          1     4               1       3
1158   T6AY1048655456G1N9N2   47   1    6   14   1968     1969          1     3       1               3
1159   ZJVZ1048658570CASDQN   35   1   10   22   1980     1981          1     3       1               3
1160   SPJ41048661450BKIAK4   34   2    1   22   1982     1982          0     2   1                   3
1161   4HH51048651411Z2257O   51   2   12   12   1964     1965          1     3           1           3
1162   BFX21048668047YNHRKY   30   2   11   23   1986     1986          0     2   1                   3
1163   I5QG1048665472CVP7PT   58   1    7    9   1957     1958          1     4               1       1
1164   3GQ41048671334F371WI   42   2    5    2   1973     1974          1     3           1           3
1165   DRZT1048662665EYY6WW   26   2    2   15   1990     1990          0     2   1                   3
1166   UE5Y1048678844B19PV1   30   2   10   24   1985     1986          1     2   1                   1
1167   P3K41048668861YTPYIS   44   1   11    3   1971     1972          1     3       1               2
1168   N7LI1048678226KJI3Q5   55   2    7    1   1960     1961          1     4                   1   3
1169   HTEA1048682900K8EG9J   22   2    3   12   1994     1994          0     2   1                   3
1170   4AT91048681969SHYQKF   54   2   10   11   1961     1962          1     3           1           3
1171   OOC31048679334J3VIBC   38   2   10   27   1977     1978          1     3           1           3
1172   49MZ1048702945W5OKL6   51   1   10   30   1964     1965          1     3       1               3
1173   BN4O1048701957TYVI13   23   2    3   16   1993     1993          0     2   1                   1
1174   1DXB1048702032IQBXKY   38   2    9   25   1977     1978          1     3           1           2
1175   JP681048703775HNDZ8S   45   1   12   17   1970     1971          1     3       1               4
1176   EHDQ1048702389CL7S2J   46   1    5   17   1969     1970          1     3       1               1
1177   T7N11048686204BFONJX   33   2    3   20   1983     1983          0     2   1                   4
1178   Y26Z1048631708P2068C   31   2    7    3   1984     1985          1     2   1                   4
1179   HDRZ1048714908J99O6N   31   2    2   24   1985     1985          0     2   1                   2
1180   MC1B1048713731UITSIK   68   1    2    9   1948     1948          0     4               1       3
1181   MEI41048715762JT85QR   59   1   11    2   1956     1957          1     4               1       3
1182   NOSG1048720369GSLMH6   47   1    3   21   1969     1969          0     3       1               3
1183   59Y81048722609L287HN   41   1    2   26   1975     1975          0     3       1               4
1184   XW4S1048723122ZJ9TPQ   62   1   11   30   1953     1954          1     4               1       1




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1185   S0021048725416YK35EZ   47   1    1   21   1970     1969         -1     3        1               3
1186   W3LW1048731922RQ76JU   44   2    1    7   1972     1972          0     3            1           2
1187   OQN51048738752FIPHTJ   33   2    1   11   1983     1983          0     2    1                   3
1188   HTQK1048742397ULX24H   49   2   10   31   1966     1967          1     3            1           4
1189   FPN31048739432CK3OEA   74   1    9   18   1941     1942          1     4                1       1
1190   K1VL1048742207B6VDU2   35   1   12   29   1980     1981          1     3        1               2
1191   RZNP1048740464M03BYH   22   2    2   24   1994     1994          0     2    1                   1
1192   GYD71048745640GYK9KL   75   2    2    2   1941     1941          0     4                    1   3
1193   59AN1048749140OBTZ7T   59   2    2   28   1957     1957          0     4                    1   4
1194   9FBS1048749284AAFI06   60   2    7   29   1955     1956          1     4                    1   3
1195   30351048760014HV4P71   54   2    1   23   1962     1962          0     3            1           4
1196   T64W1048770310E6BT8V   67   1    6   28   1948     1949          1     4                1       1
1197   GMDZ1048769602R4YK0M   49   1    3    2   1967     1967          0     3        1               1
1198   O9X61048772499D809NB   55   1    5   17   1960     1961          1     4                1       4
1199   H3YA1048790694F6UW26   35   2   10    5   1980     1981          1     3            1           1
1200   53JB1048787959KCG5AM   27   1    9   30   1988     1989          1     21                       1
1201   JZSE1048796307M7L8VP   59   1    8    6   1956     1957          1     4                1       2
1202   P5MN1048812151K63UAT   48   2    2    1   1968     1968          0     3            1           1
1203   SDS21048821942MRF3V9   37   2   12   22   1980     1979         -1     3            1           2
1204   BC9D1048826913DX8MXN   31   1    1    4   1985     1985          0     21                       1
1205   91IG1048831221IETI0B   28   2    3   12   1987     1988          1     2    1                   3
1206   VUBF1048836843BUG8MR   67   1    2   17   1949     1949          0     4                1       3
1207   Z9QG1048840642M5QNIO   49   2    5    7   1966     1967          1     3            1           3
1208   7YUB1048839265A4DM19   50   2    6   29   1965     1966          1     3            1           3
1209   YMDZ1048864336KKP026   65   1    3   15   1950     1951          1     4                1       3
1210   R39J1048879651ENMMZO   51   1   12   21   1964     1965          1     3        1               3
1211   CSUV1048884163DAC2LT   50   2    2    6   1966     1966          0     3            1           3
1212   VL271048893259G5RUBU   45   1   11   14   1970     1971          1     3        1               4
1213   3SO91048895695EB2LLH   39   2    3   30   1976     1977          1     3            1           3
1214   DHQK1048895082NTU17P   43   2   12    9   1972     1973          1     3            1           4
1215   35T31048790353ZHWG2S   72   1    6    1   1943     1944          1     4                1       4
1216   8RK61048899610VXTNBE   27   2    7    4   1988     1989          1     2    1                   2
1217   IRLQ1048903018R3S5BF   40   1   11   16   1975     1976          1     3        1               2
1218   WG7H1048895635S278CQ   36   1    7   31   1979     1980          1     3        1               1
1219   R6OU1048908701YSPLVF   25   2    8   27   1990     1991          1     2    1                   4
1220   U83G1048918594VIVZBK   39   2    8   25   1976     1977          1     3            1           3
1221   BPXW1048927189PA5H6F   34   2    8   27   1981     1982          1     2    1                   3




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1222   0N701048930970XI5QYZ   37   1   11    2   1978     1979          1     3           1           2
1223   2Z9X1048931950B04J3F   40   2    1    5   1976     1976          0     3               1       4
1224   TC7Y1048939244V162SI   55   1    2   10   1961     1961          0     4                   1   2
1225   1EDO1048938663GR96TZ   56   1    8   16   1959     1960          1     4                   1   2
1226   NX3F1048945312T5KZRF   51   2    4   29   1964     1965          1     3               1       4
1227   261Q1048955129SHJUSI   54   2    5   10   1961     1962          1     3               1       3
1228   HP9X1048958127DWUMAX   30   2    1   30   1986     1986          0     2       1               2
1229   RY0M1048958638PHDLPM   30   2    8   15   1985     1986          1     2       1               3
1230   83I41048962210Z3FO7A   22   2    5    9   1993     1994          1     2       1               4
1231   VX901048972451N1TF59   21   2    2    3   1995     1995          0     2       1               3
1232   D60D1048984478LL25PW   36   1    5    3   1979     1980          1     3           1           2
1233   OTLN1048986309YEWWEN   40   1    8    9   1975     1976          1     3           1           4
1234   GCP51049000705DWA96M   26   1   12   19   1989     1990          1     2   1                   1
1235   UIRD1049012740BCQU37   34   1    7    8   1981     1982          1     2   1                   2
1236   E9EU1049023782TPJWVG   42   1   10    2   1973     1974          1     3           1           4
1237   NWVS1049024155TVGKLF   36   1   11    8   1979     1980          1     3           1           1
1238   06XT1049026291J0MR0V   34   1    7   18   1981     1982          1     2   1                   4
1239   R6O11049036841DANWLQ   48   1    6   30   1967     1968          1     3           1           4
1240   1FY11049040911VCNQFQ   51   1    2   10   1965     1965          0     3           1           3
1241   P61O1049047331JPHG2Z   30   2   11   12   1985     1986          1     2       1               3
1242   JBZ31049050387SUQ009   37   1    3   27   1979     1979          0     3           1           3
1243   UGDV1049082899E9EI0Q   30   2    1   30   1986     1986          0     2       1               4
1244   3YQ61049049092FMNTWK   34   1    2   26   1981     1982          1     2   1                   4
1245   3EXN1049106580FC1LBE   29   1    3   10   1987     1987          0     2   1                   4
1246   B1Y41049113261XVHXUR   48   1    1   10   1968     1968          0     3           1           4
1247   AP5W1049114279AD7LAK   26   2   11   13   1989     1990          1     2       1               4
1248   L9QQ1049120499O9X5H3   54   1    8    4   1961     1962          1     3           1           4
1249   40291049120395F72EEG   22   2    1   20   1994     1994          0     2       1               3
1250   FFGD1049122123BS2YDD   30   2    4   23   1985     1986          1     2       1               4
1251   VVZ61049126430Q2GQ07   26   2    7   11   1990     1990          0     2       1               4
1252   8Q1R1049130357JRGH6R   32   1    5   27   1983     1984          1     2   1                   4
1253   T5M71049132475UVHIBW   27   1    6   12   1988     1989          1     2   1                   3
1254   OU0T1049138936DFXCFS   27   2   12   25   1988     1989          1     2       1               3
1255   HBOG1049141840N2UVVF   28   2    7   16   1987     1988          1     2       1               4
1256   M7CJ1049142481Z453FH   36   1    4   23   1981     1980         -1     3           1           1
1257   N9AN1049145226DW16CD   37   1   11   17   1978     1979          1     3           1           3
1258   IVLE1049149042SERYW3   29   2    4   18   1986     1987          1     2       1               4




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1259   7DRW1049150726VF95IE   39   1    2   12   1978     1977         -1     3           1   3
1260   WCG21049158929U00LCC   33   2    2   15   1983     1983          0     2       1       2
1261   81891049160997UTB1AY   28   2    2   19   1988     1988          0     2       1       4
1262   17S51049164494W803TE   31   2    2   18   1985     1985          0     2       1       3
1263   QSTH1049171212BRR9P3   37   1    6    9   1978     1979          1     3           1   2
1264   QBMH1049170298VPM3ED   30   2    6    1   1985     1986          1     2       1       4
1265   VRGD1049188152PFX5MB   49   1    1   21   1967     1967          0     3           1   1
1266   7ZLQ1049205321W1YEHE   52   1    4   11   1963     1964          1     3           1   3
1267   GIHO1049222592R5RX8K   25   2   10   20   1990     1991          1     2       1       1
1268   FJ6Z1049226493SMGRAI   27   2    5   29   1988     1989          1     2       1       3
1269   TNDK1049230659L5QQ24   27   2   10   27   1988     1989          1     2       1       1
1270   YYR21049238429CI1BE7   34   1   11   19   1981     1982          1     2   1           3
1271   CBOR1049182884SN5WPO   31   1    7   23   1984     1985          1     2   1           2
1272   4HAW1049253350ZF4Y5L   20   1    3   20   1996     1996          0     2   1           3
1273   MYVU1049260818JSGS75   45   1    1    3   1971     1971          0     3           1   1
1274   SV9N1049281228M7SNZI   31   1    6    7   1984     1985          1     2   1           3
1275   5WXY1049285646KYPOGB   29   2    2    1   1987     1987          0     2       1       2
1276   CZJ31049281612RAVSU4   33   2    4   10   1982     1983          1     2       1       1
1277   PUSS1049296935V2C79B   30   2    7   20   1985     1986          1     2       1       1
1278   HCN41049305156TMETFW   27   2    1   18   1989     1989          0     2       1       3
1279   KFIT1049305290C4WN1J   28   2    7    8   1987     1988          1     2       1       3
1280   HVYZ1049307094X9Y5L6   54   1    8    7   1961     1962          1     3           1   4
1281   6GU21049308035RDC6HH   29   2   10   20   1986     1987          1     2       1       3
1282   EUA01049309514TE28DZ   39   1    1    1   1977     1977          0     3           1   2
1283   SD2F1049310690VQ0HU7   24   1    1   22   1992     1992          0     2   1           3
1284   HQJO1049316304QG9M16   28   2    8   26   1987     1988          1     2       1       3
1285   OP4W1049314274B0BTJ5   23   2    2   21   1993     1993          0     2       1       3
1286   20W51049341996MC6RZN   24   1    7    9   1991     1992          1     2   1           1
1287   HI901049352315K2L6CD   27   2    9    7   1988     1989          1     2       1       1
1288   55YK1049350879L2IPCO   39   1    9   22   1976     1977          1     3           1   1
1289   T69E1049355914C3ORKJ   32   2   11   10   1983     1984          1     2       1       2
1290   HUU81049353257JYXP7B   31   1    9   24   1984     1985          1     2   1           4
1291   6JFA1049368031S0F8F8   26   2   11   24   1990     1990          0     2       1       2
1292   Y7ZS1049368812E6SAFN   30   2    2   28   1986     1986          0     2       1       3
1293   MFM11049353327SNP5OS   51   1    1   22   1965     1965          0     3           1   3
1294   5PHP1049379023FS2IQ5   31   1   12   11   1985     1985          0     2   1           1
1295   IZHM1049380565RXLQTY   44   1    3    8   1972     1972          0     3           1   2




                                                        EXHIBIT 7, PAGE 318
1296   X9UH1049385394DX2NKO   49   1   11   11   1966     1967          1     3           1   2
1297   4N0G1049389530Q7RFF1   38   1    1    1   1978     1978          0     3           1   3
1298   D17U1049400027X8N1AW   31   1    8   17   1984     1985          1     2   1           4
1299   LRMZ1049398438DYSARU   29   1    6   11   1988     1987         -1     2   1           1
1300   P8571049399906RFTDSV   31   2    8   12   1984     1985          1     2       1       3
1301   CCDG1049407998UB9GY4   35   1   12    8   1980     1981          1     3           1   3
1302   WT4L1049407814NV3EYD   34   2   11   12   1981     1982          1     2       1       1
1303   UHS51049406893MLAFAN   30   2    6   18   1985     1986          1     2       1       3
1304   MYU21049414165GANM6D   52   1    3   18   1964     1964          0     3           1   1
1305   Q7GP1049414703KLZXN9   32   1    7   13   1983     1984          1     2   1           1
1306   NL4Z1049422556LKHPQA   41   1   12   30   1974     1975          1     3           1   2
1307   95AT1049426888HQWTBS   50   1    3   19   1966     1966          0     3           1   2
1308   D6YY1049428630K9EDUI   39   1    3   15   1977     1977          0     3           1   3
1309   YR051049431376I0TIJI   44   1    6    3   1971     1972          1     3           1   4
1310   DFAZ1049432595MHTGOS   42   1    9   27   1973     1974          1     3           1   4
1311   J2RX1049452161MKZNYZ   33   2    8    8   1982     1983          1     2       1       3
1312   IJRO1049464024AQXY34   29   1    5    4   1986     1987          1     2   1           3
1313   OSIP1049476095O2G02P   32   2    1    6   1984     1984          0     2       1       1
1314   OBV41049477649L3E77K   28   2    1   14   1988     1988          0     2       1       1
1315   XEXG1049544946T4AGWG   29   2    8   25   1986     1987          1     2       1       2
1316   Z2V91049551210WV2JDN   30   2    3   12   1986     1986          0     2       1       4
1317   RC0K1049565180F2EN0W   32   2    2   16   1984     1984          0     2       1       3
1318   1IWB1049644133VDDPJD   19   2    8   19   1996     1997          1     2       1       4
1319   ODBV1049887496LXVVZQ   21   2    1    4   1995     1995          0     2       1       2
1320   FF3I1049905111YW0DOW   31   1    4   26   1984     1985          1     2   1           4
1321   N50H1049985255MKWBDT   28   1    1   11   1988     1988          0     2   1           3
1322   EP0N1050047438J98SI5   21   2   11    1   1994     1995          1     2       1       1
1323   RRVZ1050045387SEXIY9   20   1    1   12   1996     1996          0     2   1           4
1324   TADW1050059956ZIO55S   23   1    7   29   1992     1993          1     2   1           1
1325   ZWAO1050063103AVX9O6   31   2    3   12   1985     1985          0     2       1       1
1326   SYCR1050179653U4XBIN   25   2    3   29   1991     1991          0     2       1       3
1327   3D5B1050208826J5Y9UE   28   1    9   21   1987     1988          1     2   1           2
1328   K7J21050210176XZ812O   27   2    4   13   1988     1989          1     2       1       3
1329   LOGA1050220759ESI9ZH   34   1    4   22   1981     1982          1     2   1           2
1330   MKQ11050250695BV7V08   30   2    3    2   1986     1986          0     2       1       4
1331   ZY2Y1050256852L6AJK7   25   2    2   24   1990     1991          1     2       1       3
1332   X99G1050271925ZJFT7Y   30   2    5   20   1985     1986          1     2       1       4




                                                        EXHIBIT 7, PAGE 319
1333   CPHH1050277167G8IBOF   22   2    1   15   1994     1994          0     2       1   4
1334   99991050277466LB5QK8   23   2    9   21   1992     1993          1     2       1   2
1335   GSVI1050284173K3YXIK   31   2   10   16   1984     1985          1     2       1   2
1336   THJZ1050300183Z55DD1   23   2   12   22   1992     1993          1     2       1   1
1337   NRLU1050300766W3KEJ9   23   2   10   31   1992     1993          1     2       1   1
1338   W13S1050324000VU0DCJ   28   2    6   10   1987     1988          1     2       1   4
1339   35VB1050361511H1WYWS   25   2    7   20   1991     1991          0     2       1   4
1340   4SAJ1050379932EBUQ0J   32   1    7   29   1983     1984          1     2   1       3
1341   K4HH1050391453PXJKDL   29   2    3    6   1987     1987          0     2       1   1
1342   04PM1050396514X91OYJ   23   1    1    1   1993     1993          0     2   1       3
1343   VDD41050405830T7512N   30   2    5   21   1985     1986          1     2       1   2
1344   DW6J1050417991HPV1TZ   26   2    1    2   1990     1990          0     2       1   3
1345   K1Z91050438976AMH3QS   26   2    4   13   1989     1990          1     2       1   3
1346   C5DD1050458734FH46P5   20   1    9   17   1995     1996          1     2   1       2
1347   VT9O1050458761GLQA2W   30   2    8   13   1985     1986          1     2       1   2
1348   ES0I1050480158N9GY4Y   33   2    4   24   1982     1983          1     2       1   3
1349   7N991050528598OAA0FC   23   2   10   12   1992     1993          1     2       1   4
1350   8TBO1050527401SNFVYX   26   2   10   16   1989     1990          1     2       1   3
1351   MSJJ1050655059SRA239   27   1    4    7   1988     1989          1     2   1       2
1352   UER11050876723G5LUKS   34   1    7   27   1981     1982          1     2   1       2
1353   T60I1051038929JAJCMB   31   1    8   15   1984     1985          1     2   1       1
1354   OLTT1051475464CYN57U   25   1    3   17   1991     1991          0     2   1       4
1355   XSS31051498389I9ALIJ   27   1    8    3   1988     1989          1     2   1       2
1356   UYZ61051519941TZ1U0T   31   1    9   13   1984     1985          1     2   1       2
1357   B9AB1051701886YO9VPT   30   1    6   11   1985     1986          1     2   1       2
1358   TODD1051905603URQK0O   28   1    3   28   1988     1988          0     2   1       1
1359   QWTT1051909186CYN2P8   30   1    8   14   1985     1986          1     2   1       2
1360   7CZR1052098449DMS64F   20   1    4   28   1995     1996          1     2   1       1
1361   2QA51052436443FPCL0D   33   1   11    4   1982     1983          1     2   1       4
1362   QBUI1052472751YT9IHJ   27   1    7   22   1988     1989          1     2   1       3
1363   6RFG1052490872F7PL90   30   1    8   23   1985     1986          1     2   1       3
1364   1UXT1052572416EJITUA   28   1    8   25   1987     1988          1     2   1       3
1365   L86E1052689558F82UFX   26   1    5   16   1989     1990          1     2   1       3
1366   3FBK1052709000PKI7B9   28   1    7   15   1987     1988          1     2   1       2
1367   OMTI1052899973YKY3TT   26   1    1    1   1990     1990          0     2   1       2
1368   ESHS1052954585D7AIDY   20   1    4    2   1995     1996          1     2   1       3
1369   1XFB1053035909H2FJ0K   29   1    5   22   1986     1987          1     2   1       3




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1370   SWLT1053086796RBWG7U   21   1    1   31   1995     1995          0     2   1   2
1371   NBX51053085513BLX6XR   21   1    7    1   1994     1995          1     2   1   4
1372   GLI31053223859QBL7ES   26   1    1    2   1990     1990          0     2   1   3
1373   YEWI1053235873EK3L89   31   1   11    5   1984     1985          1     2   1   2
1374   Z5EU1053235655CYAOWM   31   1    5   29   1984     1985          1     2   1   2
1375   DVCG1053294890UMPGPO   30   1   12    6   1985     1986          1     2   1   3
1376   Q5QH1053342019GDUO8D   26   1    8    9   1989     1990          1     2   1   2
1377   DQ5A1053506233NY10IB   25   1    6   26   1990     1991          1     2   1   3
1378   QPUB1053611875TR800Q   28   1    3   24   1988     1988          0     2   1   1
1379   NRQ81053630576FAP42C   21   1   12   18   1994     1995          1     2   1   3
1380   XNOC1053967833BCPM8J   33   1   12   19   1982     1983          1     2   1   4
1381   NI1O1054021988W4OQ4P   24   1    3    2   1992     1992          0     2   1   1
1382   PHNS1054151220PLX6VS   24   1   12   16   1991     1992          1     2   1   4
1383   GFER1054219774SI76XU   30   1   12   14   1986     1986          0     2   1   4
1384   XHNA1054222347Y7JEMS   29   1    9   23   1986     1987          1     2   1   2
1385   62GV1054408442JV2EIL   24   1    6   23   1991     1992          1     2   1   1
1386   JPH31054528180SLN972   34   1    3   12   1983     1982         -1     2   1   4
1387   CSP51054584144R0GQ5M   32   1    8   29   1983     1984          1     2   1   2
1388   CS6I1054705759IKSTFI   30   1    3   14   1985     1986          1     2   1   1
1389   94BY1054715122SVZJII   25   1    1   15   1990     1991          1     2   1   4
1390   6A2P1054720273WP6QOC   26   1   11    9   1989     1990          1     2   1   4
1391   L2AH1054733755YVKXF4   30   1    4   24   1985     1986          1     2   1   4
1392   QG011054727254ECZ2SY   25   1    3   12   1990     1991          1     2   1   4
1393   Z18N1054761044EO9CAV   25   1   10   15   1990     1991          1     2   1   4
1394   NJT91054764962BEHL67   25   1    5   14   1990     1991          1     2   1   1
1395   TO5U1054790077A5TIN2   23   1    8   11   1992     1993          1     2   1   1
1396   UD7V1054795124TTSG17   33   1    1   28   1982     1983          1     2   1   1
1397   V48I1054798388JQ6F84   32   1    3   22   1983     1984          1     2   1   4
1398   GDGL1054801197USZMTW   29   1   11   10   1986     1987          1     2   1   4
1399   NMXH1054806242WTM56L   28   1   12    8   1987     1988          1     2   1   4
1400   8BSL1054805925PE1E7P   34   1    6   18   1981     1982          1     2   1   4
1401   QE3R1054819809MY31FP   30   1    4    7   1987     1986         -1     2   1   2
1402   D6R11054821757G2CWPR   25   1   10    8   1990     1991          1     2   1   4
1403   P1CG1054821892TSCR8H   28   1    1   19   1988     1988          0     2   1   2
1404   008R1054830524PSXNGU   27   1   12   10   1988     1989          1     2   1   4
1405   BLG91054839316V3KUWZ   30   1    8   28   1985     1986          1     2   1   4
1406   ZG2U1054907041RNFB6B   33   1    2   19   1982     1983          1     2   1   4




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Q3_0_1 Q3_0_2 Q3_0_3 Q3_0_4 Q3_1_1 Q3_1_2 Q3_1_3 Q3_1_4 Q4_0 Q5_0_1 Q5_0_2 Q6_0 Q6_1 Q7_0 Q7_1 Q8_0 Q9_0 Q9_1 TERMPUNCH OQPUNCH COKE JELLO
     2      2      2      2      1      2      1      1    2      2      2    1    1    2         3    1    2                       2     1
     2      2      2      1      1      1      1      1    1      2      2    1    1    11        3    1    2                       1     1
     1      1      1      1      1      1      1      1    2      2      2    1    1    2         3    1    2                       1     2
     2      2      2      1      1      2      1      1    2      2      2    1    1    2         3    1    2                       1     1
     2      1      1      2      1      1      1      1    3      2      2    1    1    2         3    1    2                       1     1
     1      2      2      2      1      2      2      2    3      2      2    1    1    11        3    1    2                       1     1
     1      1      1      1      1      1      1      1    2      2      2    1    1    2         3    1    2                       1     1
     2      2      1      2      1      3      1      3    2      2      2    1    1    11        3    1    2                       2     2
     2      2      2      2      1      2      2      2    2      2      2    1    1    11        3    1    2                       1     1
     2      1      1      2      1      1      1      2    1      2      2    1    1    2         3    1    2                       1     1
     2      2      2      1      1      2      3      1    1      2      2    1    1    2         3    1    2                       2     2
     1      1      1      1      1      1      1      1    2      2      2    1    1    2         3    1    2                       1     1
     1      1      2      1      1      1      1      1    1      2      2    1    1    11        3    1    2                       1     1
     2      2      1      1      1      1      1      1    1      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      1      1      1    1      2      2    1    1    2         3    1    2                       1     2
     1      1      1      1      1      1      1      1    2      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      1      1      1    3      2      2    1    1    2         3    1    2                       1     2
     1      2      2      2      1      2      1      2    2      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      2      1      2    2      2      2    1    1    11        3    1    2                       1     1
     1      1      1      1      1      1      1      1    1      2      2    1    1    11        3    1    2                       1     1
     1      1      1      2      1      1      1      2    2      2      2    1    1    2         3    1    2                       1     1
     1      2      2      2      1      1      1      2    1      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      2      2      2    1      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      2      2      1    2      2      2    1    1    11        3    1    2                       2     1
     2      1      2      1      1      1      1      1    1      2      2    1    1    2         3    1    2                       1     1
     2      1      2      1      1      1      1      1    2      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      1      1      1    2      2      2    1    1    2         3    1    2                       1     1
     1      1      1      1      1      1      1      1    1      2      2    1    1    11        3    1    2                       1     1
     1      1      1      1      1      1      1      1    1      2      2    1    1    2         3    1    2                       1     2
     1      1      1      1      1      1      1      1    2      2      2    1    1    2         3    1    2                       1     1
     1      2      2      2      1      2      1      1    2      2      2    1    1    11        3    1    2                       1     1
     1      1      1      1      1      1      1      1    2      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      2      3      3    2      2      2    1    1    11        3    1    2                       1     1
     2      2      2      2      1      2      2      2    2      2      2    1    1    2         3    1    2                       2     1
     1      2      2      2      1      2      1      1    1      2      2    1    1    11        3    1    2                       1     1
     1      2      1      2      1      2      1      1    2      2      2    1    1    2         3    1    2                       1     1




                                                             EXHIBIT 7, PAGE 322
1   2   1   2   1   2   1   2   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   2   2
1   2   2   1   1   3   3   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   2
1   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   2   1
1   1   1   1   3   1   3   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   1    2     2    1    1    2       3   1   2   1   1
1   2   2   1   1   3   2   3   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   2   1
2   1   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   2   2    2     2    1    1    2       3   1   2   1   1
1   2   2   1   1   1   1   1   3    2     2    1    1    1   1   3   1   2   1   2
1   1   2   2   1   3   3   3   2    2     2    1    1    1   1   3   1   2   1   1
2   1   1   1   1   1   2   2   2    2     2    1    1    1   1   3   1   2   1   1
2   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   2
1   2   1   2   1   2   1   2   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   2   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   2
2   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
2   1   2   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   2   1
1   2   2   2   1   3   1   3   2    2     2    1    1    2       3   1   2   2   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   2   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
1   2   2   2   1   2   2   2   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   2   1   2    2     2    1    1    1   1   3   1   2   1   1




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2   1   2   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   2   2
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   1   2   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   1   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   2   3   2   1    2     2    1    1    2       3   1   2   2   1
2   1   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   3    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   1   2   1   2   1   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   2   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   3    2     2    1    1    2       3   1   2   1   1
1   2   2   1   1   3   3   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   3   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   2   2   1   1   2   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   2   1   2   1   1   1   2   2    2     2    1    1    1   1   3   1   2   1   1
2   1   2   2   1   1   3   3   1    2     2    1    1    1   1   3   1   2   2   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   2   2   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   2   2   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
1   2   2   2   1   2   1   2   1    2     2    1    1    2       3   1   2   1   2
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   1   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   3   2   3    2     2    1    1    2       3   1   2   1   1
1   2   1   2   1   3   1   3   1    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   1   2   1   1   1   1   3    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1




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1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   1   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   3   1   3   1    2     2    1    1    1   1   3   1   2   1   1
1   3   3   3   1   3   3   3   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   2   2   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   2   2   1   3   3   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   2
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   2   1   1   3   3   3   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   2   1
2   2   2   2   1   2   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   3
1   2   1   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
2   2   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   3   2   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   3   3   1   1    2     2    1    1    1   1   3   1   2   1   1
2   1   2   2   1   1   2   3   2    2     2    1    1    1   1   3   1   2   2   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   3    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   1   2    2     2    1    1    2       3   1   2   1   2
2   1   1   2   1   2   1   2   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   3    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    2       3   1   2   1   2
1   2   2   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1




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1   1   2   2   2   2   1   1   2    2     2    1    1    2       3   1   2   1   2
1   2   2   2   1   2   2   2   3    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   3   1   1    2     2    1    1    2       3   1   2   1   1
2   1   2   1   1   1   1   1   3    2     2    1    1    2       3   1   2   1   1
1   2   1   2   1   2   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
1   1   1   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   2   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   2   2   2   1   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   1   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   2   1   3    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
1   1   2   1   1   1   3   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   2   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   3   1   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   1   1   1   1   1   1   3    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
1   2   1   1   1   2   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   2   3   1   2    2     2    1    1    2       3   1   2   1   1
1   1   2   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   2   2   1   1   2   2   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   2   2    2     2    1    1    1   1   3   1   2   1   2
1   2   2   2   1   2   1   3   2    2     2    1    1    1   1   3   1   2   1   1
1   1   2   2   1   2   2   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
1   1   2   2   1   1   3   3   2    2     2    1    1    1   1   3   1   2   2   1
2   2   2   2   1   2   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1




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1   2   2   2   1   1   1   3   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    2       3   1   2   1   2
1   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   3   1
1   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   3   1   3   3    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   1   2    2     2    1    1    1   1   3   1   2   2   2
2   2   2   2   1   2   2   1   3    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   3   3   3   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   2   1   1   1   3   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   3   2   1    2     2    1    1    2       3   1   2   1   1
1   1   2   2   1   1   2   2   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   1   2   2   1   1   2   2   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   2   1   1   1   2    2     2    1    1    2       3   1   2   2   2
1   1   2   2   1   1   1   2   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   2   1   2   1    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   3   3   3   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   3   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   2   2   3   2   3   3   2    2     2    1    1    2       3   1   2   1   1
2   2   1   2   1   1   1   2   2    2     2    1    1    2       3   1   2   1   1
3   3   3   3   1   3   3   3   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   1   1   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   2   2   1    2     2    1    1    2       3   1   2   2   1
1   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
1   1   2   2   1   1   2   2   2    2     2    1    1    1   1   3   1   2   1   1
2   2   1   1   1   1   2   1   2    2     2    1    1    1   1   3   1   2   1   2
2   2   2   2   1   2   1   1   1    2     2    1    1    2       3   1   2   2   2
1   2   2   1   1   3   3   1   1    2     2    1    1    2       3   1   2   2   1
2   2   2   2   1   2   1   1   3    2     2    1    1    2       3   1   2   1   1




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1   2   2   2   1   2   1   1   3    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   2
1   2   2   2   1   1   1   2   1    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
2   2   2   2   1   2   2   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   1   2    2     2    1    1    2       3   1   2   2   1
3   3   1   1   1   3   1   1   3    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
1   1   2   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   1   2   3   1   1   2   2    2     2    1    1    1   1   3   1   2   2   3
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   2
1   1   1   1   2   2   2   2   2    2     2    1    1    2       3   1   2   1   1
1   2   2   1   1   2   1   1   3    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   3   2   2   2   1    2     2    1    1    2       3   1   2   1   1
2   2   1   2   1   3   1   2   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   1
2   1   1   2   1   1   1   2   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   3   2   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   1   1   2   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
1   1   1   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   1   2   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   1   1   2   2   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   2   1   1   1   1   2   1    2     2    1    1    2       3   1   2   1   3
1   2   2   2   1   2   2   2   1    2     2    1    1    1   1   3   1   2   1   1
1   2   1   1   1   3   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   3   1   2    2     2    1    1    1   1   3   1   2   3   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   2
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   2   2   2    2     2    1    1    1   1   3   1   2   1   2




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1   2   1   2   1   2   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
1   2   2   1   1   2   3   3   3    2     2    1    1    1   1   3   1   2   1   1
3   2   1   1   1   2   1   1   3    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   1   2   1   2   1   1   1    2     2    1    1    2       3   1   2   1   2
2   2   2   3   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   3    2     2    1    1    2       3   1   2   1   1
1   2   1   2   1   3   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   3
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   2   1   1   1   2   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2
2   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   3   1    2     2    1    1    2       3   1   2   1   1
1   2   1   1   2   1   1   3   2    2     2    1    1    2       3   1   2   1   1
2   2   1   2   1   3   1   2   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   1
2   2   1   1   1   2   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   2   1   2   3    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   3   3   3   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   1   2   2   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   1   2   3    2     2    1    1    2       3   1   2   1   1
2   1   2   1   1   1   2   1   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   1   1   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   2




                                    EXHIBIT 7, PAGE 329
2   2   1   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   2   1
1   2   2   1   2   2   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   2   1   2   2   2   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   3   2    2     2    1    1    2       3   1   2   2   2
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   3   2    2     2    1    1    2       3   1   2   1   1
1   1   2   2   1   1   2   1   2    2     2    1    1    1   1   3   1   2   2   1
1   2   1   2   1   3   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   3   1   3   1   2   1   2   2    2     2    1    1    1   1   3   1   2   1   2
1   1   1   1   1   1   1   1   3    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   3   1   1    2     2    1    1    1   1   3   1   2   2   1
2   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   2   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   2   2   1   1   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   3   3   1   2    2     2    1    1    2       3   1   2   2   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   2   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   2   1   2   1   2   1   2   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   1   1   3   1    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   2   2    2     2    1    1    2       3   1   2   1   2
2   2   2   1   1   2   2   1   2    2     2    1    1    2       3   1   2   2   1
1   2   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   2
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   2   2
2   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   1
2   2   1   1   1   2   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   2   1
1   1   1   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1




                                    EXHIBIT 7, PAGE 330
1   2   2   2   1   2   1   2   2    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   3   2   2    2     2    1    1    1   1   3   1   2   1   1
2   3   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
1   2   2   2   1   2   1   2   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
2   1   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   1   2   1   3   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   1   2   1   2   1   2   1    2     2    1    1    2       3   1   2   1   1
2   2   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   2
2   1   2   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   2
2   2   2   1   1   2   2   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   1   2   1   1   1   2   1   1    2     2    1    1    2       3   1   2   1   1
2   1   1   2   1   3   1   1   2    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   1   2   3    2     2    1    1    1   1   3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   3   3   3   3   3   3   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   2
2   1   1   2   1   1   3   3   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   1   2   1    2     2    1    1    1   1   3   1   2   2   2
1   1   1   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   2   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   2   1   2   1   2   1   2   1    2     2    1    1    1   1   3   1   2   1   2
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   1   1   2   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   2   2   1   2   3   2   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
2   2   1   3   1   2   1   2   1    2     2    1    1    2       3   1   2   1   1
1   3   1   3   1   3   1   3   2    2     2    1    1    1   1   3   1   2   1   1
1   1   2   2   1   2   2   2   2    2     2    1    1    1   1   3   1   2   1   2
2   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   1




                                    EXHIBIT 7, PAGE 331
1   2   1   1   1   1   2   1   1    2     2    1    1    1   1   3   1   2   2   2
1   2   1   2   1   1   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   2   1   1   1   2   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   3   1   2    2     2    1    1    2       3   1   2   1   1
1   2   1   1   3   3   3   3   3    2     2    1    1    1   1   3   1   2   3   2
2   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   2   1   1   1   3   1   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   1   1   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   2   1   1   1   3   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   2
2   2   2   2   1   2   1   1   2    2     2    1    1    2       3   1   2   1   2
2   1   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   1   1   1   1   1   1   1    2     2    1    1    1   1   3   1   2   1   1
1   1   2   2   1   1   1   2   2    2     2    1    1    1   1   3   1   2   1   2
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   2   2   1   1   1   2   2    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   2
1   1   1   2   1   1   1   3   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   3   1    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   2   2
1   2   2   2   1   2   1   2   3    2     2    1    1    1   1   3   1   2   1   1
1   1   1   1   1   3   1   1   3    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   2   2
1   1   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   2   2
2   2   2   1   1   1   1   1   3    2     2    1    1    2       3   1   2   1   1
2   1   2   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   2   2   1   1   1   3   1    2     2    1    1    2       3   1   2   1   1
2   2   2   2   1   2   3   3   2    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   1   1   3   3    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   2   2   2   2    2     2    1    1    2       3   1   2   1   1
1   2   1   1   1   1   1   1   2    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   2   2   2   1   1   1   1   1    2     2    1    1    2       3   1   2   1   1
1   1   1   2   1   1   1   2   1    2     2    1    1    1   1   3   1   2   1   2
2   2   2   2   1   2   1   2   1    2     2    1    1    2       3   1   2   1   1
1   1   1   1   1   1   1   1   1    2     2    1    1    2       3   1   2   1   2
1   2   1   2   2   1   1   2   2    2     2    1    1    1   1   3   1   2   1   1




                                    EXHIBIT 7, PAGE 332
REFRIGERAT MARGARINE AMERICAN_A GAS_STATIO DEMOCRATIC POLITICAL_ CONVENTION ANIME_EXPO COMICCON CMS RDATE               RDATECOMPL
         2          2          1          2          1         2           2          2       1    1 2016-03-15 15:25:0 2016-03-15 15:26:3
         2          2          1          2          1         2           2          1       1    1 2016-03-15 15:24:0 2016-03-15 15:26:4
         2          2          1          2          1         1           2          1       1    1 2016-03-15 15:24:2 2016-03-15 15:27:3
         2          2          1          2          1         1           2          2       1    1 2016-03-15 15:25:4 2016-03-15 15:29:0
         2          1          1          2          1         2           2          1       1    1 2016-03-15 15:28:1 2016-03-15 15:31:0
         2          2          1          2          2         2           2          2       1    1 2016-03-15 15:35:4 2016-03-15 15:38:3
         2          2          1          2          1         1           2          1       1    1 2016-03-15 15:34:3 2016-03-15 15:39:2
         2          2          1          2          2         2           2          2       1    1 2016-03-15 15:37:1 2016-03-15 15:40:5
         2          2          1          2          1         2           2          1       1    1 2016-03-15 15:38:3 2016-03-15 15:41:1
         2          2          1          2          1         2           2          1       1    1 2016-03-15 15:40:3 2016-03-15 15:43:0
         2          2          1          2          2         2           2          1       3    1 2016-03-15 15:40:5 2016-03-15 15:43:1
         2          2          2          2          2         2           2          2       2    1 2016-03-15 15:41:0 2016-03-15 15:47:3
         2          2          1          2          1         2           2          1       3    1 2016-03-15 15:44:4 2016-03-15 15:50:5
         2          1          1          2          2         2           2          1       1    1 2016-03-15 15:52:3 2016-03-15 15:55:4
         1          1          1          2          1         2           2          1       2    1 2016-03-15 15:58:4 2016-03-15 16:00:4
         2          2          1          2          1         2           2          2       1    1 2016-03-15 15:56:3 2016-03-15 16:01:0
         2          1          1          1          2         2           2          1       2    1 2016-03-15 15:58:2 2016-03-15 16:01:0
         2          2          1          2          1         2           2          1       1    1 2016-03-15 16:00:3 2016-03-15 16:02:2
         2          2          1          2          2         2           2          1       1    1 2016-03-15 15:58:1 2016-03-15 16:04:1
         2          2          1          2          1         2           1          1       1    1 2016-03-15 16:04:2 2016-03-15 16:06:4
         2          2          1          2          1         2           2          1       1    1 2016-03-15 16:05:1 2016-03-15 16:07:4
         2          2          1          2          1         2           2          3       1    1 2016-03-15 16:04:1 2016-03-15 16:07:5
         2          2          1          2          1         2           2          1       1    1 2016-03-15 16:05:2 2016-03-15 16:08:3
         2          2          1          2          1         1           2          2       2    1 2016-03-15 16:04:2 2016-03-15 16:08:4
         2          2          1          2          1         1           2          1       1    1 2016-03-15 16:00:4 2016-03-15 16:08:5
         2          2          1          2          1         1           1          3       3    1 2016-03-15 16:02:4 2016-03-15 16:09:0
         2          2          2          2          2         2           2          2       2    1 2016-03-15 16:07:0 2016-03-15 16:09:2
         2          2          1          2          1         2           2          1       1    1 2016-03-15 16:05:0 2016-03-15 16:11:0
         2          2          1          2          1         2           2          1       1    1 2016-03-15 16:11:3 2016-03-15 16:13:5
         2          2          1          2          1         2           2          1       1    1 2016-03-15 16:12:3 2016-03-15 16:14:5
         2          2          1          2          1         2           2          2       1    1 2016-03-15 16:11:3 2016-03-15 16:15:0
         2          2          1          2          1         2           2          1       1    1 2016-03-15 16:16:0 2016-03-15 16:18:5
         2          2          1          2          1         1           2          1       1    1 2016-03-15 16:16:2 2016-03-15 16:19:3
         2          2          1          2          1         2           1          1       1    1 2016-03-15 16:16:1 2016-03-15 16:19:4
         2          1          1          2          1         1           2          1       1    1 2016-03-15 16:20:4 2016-03-15 16:23:4
         2          2          1          2          1         2           2          2       1    1 2016-03-15 16:22:3 2016-03-15 16:24:4




                                                            EXHIBIT 7, PAGE 333
2   2   1   2   1     2           2       1   1   1   2016-03-15 16:22:5   2016-03-15 16:25:3
2   2   1   2   1     2           2       1   1   1   2016-03-15 16:22:2   2016-03-15 16:25:3
2   1   1   2   2     2           3       1   3   1   2016-03-15 16:24:3   2016-03-15 16:26:5
2   2   1   2   2     2           2       1   1   1   2016-03-15 16:25:4   2016-03-15 16:28:1
2   2   1   2   1     2           2       1   1   1   2016-03-15 16:30:2   2016-03-15 16:33:0
2   2   1   2   1     2           2       2   1   1   2016-03-15 16:29:2   2016-03-15 16:33:0
2   2   1   2   2     2           2       1   1   1   2016-03-15 16:12:5   2016-03-15 16:34:2
2   2   1   2   2     2           2       2   1   1   2016-03-15 16:38:4   2016-03-15 16:41:2
2   2   1   2   1     2           2       1   2   1   2016-03-15 16:39:5   2016-03-15 16:43:1
2   2   1   2   1     2           2       1   1   1   2016-03-15 16:40:2   2016-03-15 16:44:1
2   2   1   2   1     2           2       2   1   1   2016-03-15 16:43:1   2016-03-15 16:45:3
2   2   1   2   2     2           2       1   3   1   2016-03-15 16:38:4   2016-03-15 16:46:4
2   2   1   2   2     2           2       2   1   1   2016-03-15 16:41:5   2016-03-15 16:49:3
2   2   1   2   2     2           2       2   1   1   2016-03-15 16:47:2   2016-03-15 16:49:5
2   2   1   2   1     2           2       1   1   1   2016-03-15 16:48:0   2016-03-15 16:52:5
2   2   1   2   1     2           2       1   1   1   2016-03-15 16:51:0   2016-03-15 16:56:0
1   2   1   2   1     2           1       1   1   1   2016-03-15 17:00:0   2016-03-15 17:03:0
2   2   1   2   2     2           2       2   2   1   2016-03-15 17:03:2   2016-03-15 17:06:5
2   2   1   2   1     1           2       1   1   1   2016-03-15 17:04:5   2016-03-15 17:08:4
2   2   1   2   1     1           2       1   1   1   2016-03-15 15:36:2   2016-03-15 17:22:1
2   2   1   2   1     2           2       2   1   1   2016-03-15 20:49:3   2016-03-15 20:51:3
2   2   1   2   1     2           2       1   2   1   2016-03-15 23:21:2   2016-03-15 23:25:5
2   2   1   2   1     2           2       1   1   1   2016-03-16 10:29:2   2016-03-16 10:32:2
2   2   1   2   1     1           2       1   1   1   2016-03-16 10:53:3   2016-03-16 10:58:2
2   2   1   2   2     2           2       1   1   1   2016-03-16 11:13:1   2016-03-16 11:16:2
2   2   1   2   1     2           2       1   2   1   2016-03-16 11:17:2   2016-03-16 11:19:4
2   2   1   2   1     1           2       1   1   1   2016-03-16 11:24:2   2016-03-16 11:26:2
2   2   1   2   1     2           2       2   2   1   2016-03-16 11:33:2   2016-03-16 11:35:3
2   2   1   2   2     2           1       1   1   1   2016-03-16 11:36:1   2016-03-16 11:38:1
2   2   1   2   1     2           2       2   1   1   2016-03-16 11:34:1   2016-03-16 11:41:3
2   2   2   2   2     2           2       1   1   1   2016-03-16 11:51:2   2016-03-16 11:57:2
2   2   1   2   2     2           2       2   1   1   2016-03-16 12:11:0   2016-03-16 12:13:5
2   2   1   2   1     1           2       1   1   1   2016-03-16 12:25:0   2016-03-16 12:28:5
2   2   1   2   1     2           2       2   1   1   2016-03-16 12:31:3   2016-03-16 12:33:3
2   1   1   2   1     2           2       1   1   1   2016-03-16 12:35:3   2016-03-16 12:37:0
2   1   1   2   2     2           2       2   2   1   2016-03-16 12:48:0   2016-03-16 12:53:1
2   2   1   2   3     3           2       1   1   1   2016-03-16 13:15:4   2016-03-16 13:20:5




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1   1   1   2   2     1           2       1   2   1   2016-03-16 13:23:2   2016-03-16 13:26:1
2   2   1   2   1     1           2       1   1   1   2016-03-16 13:25:0   2016-03-16 13:27:4
2   2   1   2   1     2           2       2   1   1   2016-03-16 13:28:4   2016-03-16 13:32:2
2   2   1   2   1     2           2       2   1   1   2016-03-16 13:53:3   2016-03-16 13:56:1
2   2   1   2   1     1           2       1   1   1   2016-03-16 13:59:0   2016-03-16 14:01:3
2   2   1   2   1     2           2       2   1   1   2016-03-16 14:06:1   2016-03-16 14:10:2
2   1   1   2   1     2           2       1   1   1   2016-03-16 13:56:4   2016-03-16 14:12:0
2   2   1   2   1     2           2       1   1   1   2016-03-16 14:44:1   2016-03-16 14:47:0
2   2   1   2   1     2           2       1   1   1   2016-03-16 14:52:3   2016-03-16 14:55:4
2   2   1   2   1     2           1       1   1   1   2016-03-16 14:54:0   2016-03-16 14:56:3
2   2   1   2   2     2           2       2   1   1   2016-03-16 14:59:4   2016-03-16 15:02:3
2   2   1   2   1     2           2       1   1   1   2016-03-16 14:51:4   2016-03-16 15:03:2
2   2   1   2   1     2           2       1   1   1   2016-03-16 15:23:5   2016-03-16 15:26:2
2   2   1   2   1     2           2       2   1   1   2016-03-16 16:55:5   2016-03-16 17:00:1
2   2   1   2   1     2           2       2   1   1   2016-03-16 17:13:4   2016-03-16 17:15:4
2   2   1   2   1     1           2       1   1   1   2016-03-16 17:32:0   2016-03-16 17:34:0
2   2   1   2   1     2           2       2   1   1   2016-03-16 17:49:4   2016-03-16 17:52:2
2   2   1   2   2     1           2       1   1   1   2016-03-16 21:05:3   2016-03-16 21:07:0
2   2   1   2   2     2           2       1   1   1   2016-03-16 22:29:1   2016-03-16 22:33:4
1   1   2   2   1     2           1       1   1   1   2016-03-16 23:05:1   2016-03-16 23:13:5
2   2   1   2   3     2           2       1   2   1   2016-03-16 23:44:0   2016-03-16 23:51:0
2   2   2   2   3     2           2       3   1   1   2016-03-17 01:18:0   2016-03-17 01:20:4
2   2   1   2   1     2           2       1   1   1   2016-03-17 02:15:1   2016-03-17 02:18:0
2   2   1   2   1     2           2       1   1   1   2016-03-17 03:01:3   2016-03-17 03:03:2
2   2   1   2   1     2           2       1   1   1   2016-03-17 07:10:0   2016-03-17 07:12:3
2   2   1   2   3     2           2       2   1   1   2016-03-17 10:44:4   2016-03-17 10:47:2
2   2   1   2   2     2           2       1   1   1   2016-03-17 15:21:2   2016-03-17 15:23:3
2   2   1   2   1     1           1       2   1   1   2016-03-17 15:27:0   2016-03-17 15:29:3
2   1   1   2   2     2           2       1   1   1   2016-03-17 20:56:3   2016-03-17 20:58:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 15:57:5   2016-03-30 16:00:3
2   1   1   2   1     2           2       1   1   1   2016-03-30 15:59:4   2016-03-30 16:02:2
2   2   1   2   1     2           2       1   2   1   2016-03-30 15:58:2   2016-03-30 16:02:4
2   2   1   2   1     1           2       1   1   1   2016-03-30 16:03:5   2016-03-30 16:06:1
2   2   1   2   3     2           2       2   1   1   2016-03-30 16:03:4   2016-03-30 16:07:5
2   1   1   2   1     2           2       1   1   1   2016-03-30 16:01:3   2016-03-30 16:07:5
2   2   1   2   1     2           2       3   1   1   2016-03-30 16:05:4   2016-03-30 16:07:5
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:04:3   2016-03-30 16:08:0




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2   2   1   2   1     2           2       3   3   1   2016-03-30 16:04:5   2016-03-30 16:08:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:11:2   2016-03-30 16:14:4
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:12:3   2016-03-30 16:15:3
1   1   1   1   1     1           1       1   1   1   2016-03-30 16:13:3   2016-03-30 16:16:0
2   2   1   2   1     1           2       1   1   1   2016-03-30 16:11:4   2016-03-30 16:16:5
2   2   1   2   1     3           2       1   1   1   2016-03-30 16:14:3   2016-03-30 16:17:0
2   2   1   2   1     2           2       2   1   1   2016-03-30 16:15:2   2016-03-30 16:19:1
2   2   1   2   2     2           2       2   1   1   2016-03-30 16:18:1   2016-03-30 16:21:3
2   2   1   2   1     2           2       3   2   1   2016-03-30 16:19:0   2016-03-30 16:21:4
2   2   1   2   1     2           2       3   2   1   2016-03-30 16:19:4   2016-03-30 16:24:0
2   2   1   2   3     2           2       2   1   1   2016-03-30 16:21:4   2016-03-30 16:24:5
2   1   2   2   1     2           2       2   2   1   2016-03-30 16:05:2   2016-03-30 16:27:0
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:25:0   2016-03-30 16:30:5
1   1   1   1   1     1           1       1   1   1   2016-03-30 16:28:1   2016-03-30 16:33:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:22:5   2016-03-30 16:34:3
2   2   1   2   2     2           2       1   1   1   2016-03-30 16:38:1   2016-03-30 16:41:3
2   2   1   2   1     2           2       1   2   1   2016-03-30 16:36:4   2016-03-30 16:42:5
2   2   1   2   1     2           2       3   2   1   2016-03-30 16:43:1   2016-03-30 16:45:2
2   2   1   2   2     2           2       2   1   1   2016-03-30 16:42:0   2016-03-30 16:45:5
2   2   1   2   1     1           1       1   1   1   2016-03-30 16:38:1   2016-03-30 16:46:1
2   2   1   2   1     2           2       3   1   1   2016-03-30 16:44:4   2016-03-30 16:47:1
2   2   1   2   1     2           2       1   2   1   2016-03-30 16:44:4   2016-03-30 16:47:1
2   2   1   2   1     1           2       1   1   1   2016-03-30 16:43:3   2016-03-30 16:47:2
2   2   1   2   1     2           2       2   1   1   2016-03-30 16:43:4   2016-03-30 16:47:5
2   1   1   2   2     2           2       2   1   1   2016-03-30 16:44:5   2016-03-30 16:48:0
2   2   1   2   1     2           2       3   3   1   2016-03-30 16:44:0   2016-03-30 16:49:0
2   2   1   2   1     1           2       2   1   1   2016-03-30 16:47:3   2016-03-30 16:50:1
2   2   1   2   1     2           2       2   2   1   2016-03-30 16:46:2   2016-03-30 16:50:2
2   2   1   2   1     2           2       3   1   1   2016-03-30 16:48:0   2016-03-30 16:50:2
2   2   1   2   1     2           2       2   1   1   2016-03-30 16:46:0   2016-03-30 16:50:4
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:49:3   2016-03-30 16:52:2
2   2   1   2   1     2           2       2   1   1   2016-03-30 16:51:2   2016-03-30 16:53:3
2   2   1   2   1     2           2       2   1   1   2016-03-30 16:52:4   2016-03-30 16:55:4
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:50:4   2016-03-30 16:57:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:50:4   2016-03-30 16:57:3
2   2   1   2   1     1           1       1   1   1   2016-03-30 16:56:1   2016-03-30 16:58:2




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2   2   1   2   1     2           2       2   1   1   2016-03-30 16:55:3   2016-03-30 16:58:3
2   1   1   2   1     2           2       1   2   1   2016-03-30 16:55:5   2016-03-30 16:58:5
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:55:2   2016-03-30 16:59:1
2   2   1   2   1     1           2       1   3   1   2016-03-30 16:57:2   2016-03-30 16:59:4
2   2   1   2   1     1           2       1   1   1   2016-03-30 16:57:2   2016-03-30 16:59:5
2   2   1   2   1     2           2       1   1   1   2016-03-30 16:58:1   2016-03-30 17:01:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 17:01:0   2016-03-30 17:03:3
2   2   1   2   1     2           2       2   2   1   2016-03-30 16:45:0   2016-03-30 17:04:1
2   2   1   2   1     2           2       1   2   1   2016-03-30 17:00:0   2016-03-30 17:05:3
2   2   1   2   1     2           2       3   1   1   2016-03-30 17:04:5   2016-03-30 17:07:1
2   2   1   2   2     2           2       2   1   1   2016-03-30 17:06:5   2016-03-30 17:09:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 17:09:0   2016-03-30 17:11:5
2   2   1   2   1     2           2       1   1   1   2016-03-30 17:01:1   2016-03-30 17:12:5
2   2   1   2   2     2           2       2   1   1   2016-03-30 17:13:3   2016-03-30 17:15:4
2   2   1   2   1     2           2       1   2   1   2016-03-30 17:11:5   2016-03-30 17:16:4
2   2   1   2   1     2           2       1   1   1   2016-03-30 17:16:0   2016-03-30 17:18:4
2   2   1   2   2     2           2       2   2   1   2016-03-30 17:10:2   2016-03-30 17:20:0
2   1   1   2   2     1           2       2   2   1   2016-03-30 17:20:4   2016-03-30 17:22:2
2   2   1   2   3     2           2       2   1   1   2016-03-30 17:14:1   2016-03-30 17:23:0
2   2   1   2   1     2           2       1   1   1   2016-03-30 17:20:1   2016-03-30 17:25:3
2   2   1   2   1     1           2       1   1   1   2016-03-30 17:23:0   2016-03-30 17:25:4
2   1   1   2   1     2           1       1   2   1   2016-03-30 17:22:4   2016-03-30 17:26:0
2   2   1   2   1     2           2       1   1   1   2016-03-30 17:22:0   2016-03-30 17:27:1
2   2   1   2   1     2           2       1   1   1   2016-03-30 17:38:3   2016-03-30 17:40:3
2   2   1   2   3     2           2       1   1   1   2016-03-30 17:38:5   2016-03-30 17:41:5
2   2   1   2   2     1           1       2   1   1   2016-03-30 17:37:5   2016-03-30 17:41:5
2   2   1   2   2     2           2       1   1   1   2016-03-30 17:39:2   2016-03-30 17:41:5
2   2   1   2   1     2           2       3   1   1   2016-03-30 17:38:2   2016-03-30 17:42:0
2   2   1   2   1     2           2       2   1   1   2016-03-30 17:26:4   2016-03-30 17:42:2
2   2   1   2   1     2           2       2   1   1   2016-03-30 16:46:0   2016-03-30 17:42:4
2   2   1   2   1     1           2       1   1   1   2016-03-30 17:48:2   2016-03-30 17:51:0
2   2   1   2   1     1           2       3   3   1   2016-03-30 17:47:2   2016-03-30 17:51:5
2   2   1   2   1     2           2       3   3   1   2016-03-30 17:49:1   2016-03-30 17:55:1
2   2   1   2   1     2           2       2   1   1   2016-03-30 17:53:5   2016-03-30 17:56:0
2   2   1   2   1     1           2       1   1   1   2016-03-30 17:56:0   2016-03-30 17:58:0
2   2   1   2   1     2           2       2   1   1   2016-03-30 17:56:2   2016-03-30 18:00:4




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2   2   2   2   1     2           2       3   1   1   2016-03-30 18:04:0   2016-03-30 18:06:4
2   3   1   2   1     2           2       1   1   1   2016-03-30 18:09:4   2016-03-30 18:12:1
2   2   1   2   1     1           2       1   1   1   2016-03-30 18:12:5   2016-03-30 18:14:4
2   2   1   2   1     2           2       2   2   1   2016-03-30 18:09:5   2016-03-30 18:16:2
2   2   1   2   1     2           2       1   1   1   2016-03-30 18:13:0   2016-03-30 18:19:2
2   2   1   2   1     2           2       2   1   1   2016-03-30 18:14:5   2016-03-30 18:20:2
2   2   1   2   1     2           2       3   3   1   2016-03-30 18:16:0   2016-03-30 18:21:2
2   2   1   2   1     2           2       1   1   1   2016-03-30 18:18:5   2016-03-30 18:23:0
2   2   1   2   1     2           2       2   1   1   2016-03-30 18:19:0   2016-03-30 18:24:0
2   2   1   2   1     1           2       1   1   1   2016-03-30 18:29:4   2016-03-30 18:34:0
2   2   1   2   2     2           2       2   1   1   2016-03-30 18:40:1   2016-03-30 18:43:0
2   2   1   2   1     1           2       1   1   1   2016-03-30 18:39:3   2016-03-30 18:45:0
2   2   1   2   1     2           2       2   1   1   2016-03-30 18:42:3   2016-03-30 18:47:5
2   2   2   2   1     2           2       1   2   1   2016-03-30 19:06:4   2016-03-30 19:08:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 19:03:2   2016-03-30 19:11:4
2   2   1   2   1     2           2       1   1   1   2016-03-30 19:13:2   2016-03-30 19:15:2
2   2   1   2   1     2           2       2   1   1   2016-03-30 19:27:5   2016-03-30 19:30:0
2   2   1   2   1     2           2       1   2   1   2016-03-30 19:35:1   2016-03-30 19:37:4
2   2   1   2   1     2           2       2   1   1   2016-03-30 19:39:0   2016-03-30 19:42:4
2   2   1   2   2     2           2       2   1   1   2016-03-30 19:42:2   2016-03-30 19:45:0
2   2   1   2   1     2           2       2   1   1   2016-03-30 19:46:1   2016-03-30 19:50:4
2   2   1   2   1     2           2       1   1   1   2016-03-30 19:49:2   2016-03-30 19:51:5
2   2   1   2   1     1           2       1   3   1   2016-03-30 19:48:1   2016-03-30 19:52:4
2   2   1   2   1     2           2       1   1   1   2016-03-30 20:10:0   2016-03-30 20:14:3
2   2   1   2   2     2           2       2   1   1   2016-03-30 20:24:0   2016-03-30 20:26:3
2   2   1   2   1     1           2       2   1   1   2016-03-30 20:27:3   2016-03-30 20:30:3
2   2   1   2   1     2           2       1   1   1   2016-03-30 20:35:0   2016-03-30 20:36:5
2   2   1   2   1     2           2       1   1   1   2016-03-30 20:37:0   2016-03-30 20:39:2
2   2   1   2   1     2           2       2   2   1   2016-03-30 20:38:2   2016-03-30 20:42:0
2   2   1   2   1     2           2       1   1   1   2016-03-30 19:06:0   2016-03-30 20:44:1
2   2   1   2   1     2           2       3   1   1   2016-03-30 20:39:5   2016-03-30 20:44:1
2   2   1   2   1     1           2       1   1   1   2016-03-30 20:42:4   2016-03-30 20:44:5
1   1   3   2   2     1           2       1   1   1   2016-03-30 20:37:1   2016-03-30 20:46:3
2   2   3   2   3     3           2       3   1   1   2016-03-30 20:47:5   2016-03-30 20:53:0
2   2   1   2   1     2           2       2   1   1   2016-03-30 20:56:3   2016-03-30 21:00:1
2   2   1   2   2     2           2       2   2   1   2016-03-30 21:04:2   2016-03-30 21:07:4




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2   2   1   2   1     1           2       1   1   1   2016-03-30 21:08:3   2016-03-30 21:10:3
2   2   1   2   1     2           2       2   1   1   2016-03-30 21:15:4   2016-03-30 21:17:5
2   2   1   2   1     2           2       2   2   1   2016-03-30 21:15:1   2016-03-30 21:18:5
2   2   1   2   1     2           1       1   1   1   2016-03-30 21:21:4   2016-03-30 21:27:2
2   2   1   2   1     3           2       1   2   1   2016-03-30 21:31:4   2016-03-30 21:35:4
2   2   1   2   1     1           1       1   1   1   2016-03-30 21:34:5   2016-03-30 21:39:1
2   2   1   2   1     1           2       1   1   1   2016-03-30 21:35:4   2016-03-30 21:39:2
2   2   1   2   1     1           2       1   1   1   2016-03-30 21:38:4   2016-03-30 21:41:3
2   2   1   2   1     1           2       1   1   1   2016-03-30 21:48:1   2016-03-30 21:50:2
2   2   1   2   1     2           1       1   1   1   2016-03-30 21:59:2   2016-03-30 22:04:0
2   2   1   2   2     2           2       2   1   1   2016-03-30 22:01:2   2016-03-30 22:08:1
2   2   1   2   1     2           2       1   1   1   2016-03-30 22:16:4   2016-03-30 22:19:3
1   1   2   2   1     2           2       1   1   1   2016-03-30 22:29:0   2016-03-30 22:40:1
2   2   1   2   2     2           2       1   2   1   2016-03-30 22:38:3   2016-03-30 22:41:1
2   2   1   2   1     2           2       2   1   1   2016-03-30 22:38:5   2016-03-30 22:42:2
2   2   1   2   1     1           2       2   1   1   2016-03-30 22:41:4   2016-03-30 22:49:2
2   2   1   2   1     2           2       1   2   1   2016-03-30 22:53:0   2016-03-30 22:55:3
2   2   1   2   1     2           2       2   1   1   2016-03-30 22:57:2   2016-03-30 23:00:4
2   2   1   2   1     2           2       2   1   1   2016-03-30 23:04:2   2016-03-30 23:07:3
2   2   1   2   1     1           2       1   1   1   2016-03-30 23:11:1   2016-03-30 23:24:3
2   2   1   2   3     2           2       1   1   1   2016-03-30 23:48:0   2016-03-30 23:50:2
2   2   1   2   2     2           2       2   1   1   2016-03-30 23:06:2   2016-03-31 00:09:5
1   1   2   1   2     1           1       2   1   1   2016-03-31 00:21:3   2016-03-31 00:23:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 00:32:1   2016-03-31 00:34:4
2   1   1   2   2     2           2       1   2   1   2016-03-31 00:34:1   2016-03-31 00:37:3
2   2   1   2   1     2           2       2   1   1   2016-03-31 00:46:1   2016-03-31 00:49:2
2   2   1   2   1     1           2       2   2   1   2016-03-31 00:46:0   2016-03-31 00:49:2
2   2   1   2   1     2           2       3   1   1   2016-03-31 00:50:0   2016-03-31 00:53:0
2   1   1   2   1     1           2       1   1   1   2016-03-31 00:57:4   2016-03-31 01:00:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 01:06:5   2016-03-31 01:08:5
2   2   1   2   1     2           2       2   1   1   2016-03-31 01:12:2   2016-03-31 01:16:2
2   2   1   2   1     3           2       1   1   1   2016-03-31 01:30:0   2016-03-31 01:33:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 01:38:5   2016-03-31 01:42:0
2   2   1   2   1     2           2       1   1   1   2016-03-31 01:40:2   2016-03-31 01:43:1
2   2   1   2   1     2           2       2   1   1   2016-03-31 01:50:2   2016-03-31 01:55:0
2   2   1   2   1     1           2       2   1   1   2016-03-31 02:00:5   2016-03-31 02:04:1




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2   2   1   2   1     2           2       1   1   1   2016-03-31 02:35:4   2016-03-31 02:38:4
2   2   1   2   1     2           2       1   1   1   2016-03-31 02:46:1   2016-03-31 02:49:5
2   2   2   2   3     3           2       2   1   1   2016-03-31 03:03:5   2016-03-31 03:08:1
2   2   1   2   2     2           2       2   2   1   2016-03-31 03:38:5   2016-03-31 03:41:1
2   2   1   2   1     2           2       2   1   1   2016-03-31 03:33:1   2016-03-31 03:42:0
2   2   1   2   1     2           2       2   2   1   2016-03-31 05:17:3   2016-03-31 05:43:3
2   2   1   2   1     1           2       1   1   1   2016-03-31 06:27:3   2016-03-31 06:31:5
2   2   1   2   1     2           2       2   1   1   2016-03-31 07:25:0   2016-03-31 07:26:5
2   2   1   2   1     3           2       3   1   1   2016-03-31 07:34:5   2016-03-31 07:38:0
2   2   1   2   2     2           2       1   1   1   2016-03-31 07:46:2   2016-03-31 07:48:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 08:04:5   2016-03-31 08:08:0
2   2   1   2   1     2           2       1   1   1   2016-03-31 04:42:0   2016-03-31 08:27:3
2   2   1   2   1     2           1       1   1   1   2016-03-31 08:36:0   2016-03-31 08:38:3
2   2   1   2   1     2           2       1   1   1   2016-03-31 08:47:3   2016-03-31 08:50:2
2   2   1   2   2     2           2       2   1   1   2016-03-31 09:18:1   2016-03-31 09:24:1
2   2   1   2   1     2           2       2   2   1   2016-03-31 09:23:3   2016-03-31 09:26:2
2   2   1   2   1     2           2       3   1   1   2016-03-31 09:17:5   2016-03-31 09:27:3
2   2   1   2   1     2           2       1   1   1   2016-03-31 09:36:1   2016-03-31 09:38:4
2   2   1   2   1     2           2       2   2   1   2016-03-31 09:47:2   2016-03-31 09:49:0
2   1   2   2   1     1           1       1   1   1   2016-03-31 09:47:4   2016-03-31 09:49:3
2   1   1   2   1     1           2       2   2   1   2016-03-31 09:49:5   2016-03-31 09:52:2
2   2   1   2   1     2           2       2   1   1   2016-03-31 09:51:0   2016-03-31 09:54:0
2   2   1   2   1     2           2       3   1   1   2016-03-31 09:53:0   2016-03-31 09:55:0
2   2   1   2   1     2           2       1   1   1   2016-03-31 09:54:4   2016-03-31 09:57:4
2   2   1   2   1     2           2       1   2   1   2016-03-31 10:01:4   2016-03-31 10:03:0
2   2   1   2   2     2           2       1   1   1   2016-03-31 10:00:2   2016-03-31 10:04:5
2   2   1   2   1     2           2       1   1   1   2016-03-31 10:31:2   2016-03-31 10:35:1
2   2   1   2   1     2           2       2   1   1   2016-03-31 10:44:2   2016-03-31 10:46:4
2   2   1   2   1     2           2       1   1   1   2016-03-31 10:43:0   2016-03-31 10:47:0
2   2   1   2   1     2           2       2   1   1   2016-03-31 10:48:2   2016-03-31 10:50:1
2   2   1   2   1     1           2       2   1   1   2016-03-31 10:45:5   2016-03-31 10:53:0
2   1   1   2   1     2           2       1   1   1   2016-03-31 11:02:1   2016-03-31 11:04:4
2   2   1   2   1     2           2       1   1   1   2016-03-31 11:03:0   2016-03-31 11:07:0
2   2   1   2   1     2           2       1   1   1   2016-03-31 10:45:5   2016-03-31 11:08:1
1   1   2   1   1     1           1       1   1   1   2016-03-31 11:13:2   2016-03-31 11:15:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 11:15:2   2016-03-31 11:22:2




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2   2   1   2   1     2           2       1   1   1   2016-03-31 11:20:0   2016-03-31 11:23:1
2   2   1   2   2     2           2       1   1   1   2016-03-31 11:25:1   2016-03-31 11:27:0
2   2   1   2   2     2           2       2   1   1   2016-03-31 11:36:0   2016-03-31 11:39:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 11:34:1   2016-03-31 11:39:1
2   2   1   2   1     2           2       2   1   1   2016-03-31 11:36:5   2016-03-31 11:40:3
2   2   1   2   2     2           2       3   1   1   2016-03-31 11:43:5   2016-03-31 11:46:4
2   2   1   2   1     2           2       2   1   1   2016-03-31 11:43:3   2016-03-31 11:47:5
2   2   1   2   3     3           2       2   1   1   2016-03-31 11:42:5   2016-03-31 11:48:5
2   2   1   2   1     2           2       1   1   1   2016-03-31 11:49:3   2016-03-31 11:54:1
2   2   1   2   1     1           2       1   1   1   2016-03-31 11:50:2   2016-03-31 11:54:3
2   2   1   2   1     2           2       3   1   1   2016-03-31 11:58:3   2016-03-31 12:00:5
2   2   1   2   1     1           2       1   1   1   2016-03-31 12:02:5   2016-03-31 12:06:0
2   2   1   2   1     2           2       3   1   1   2016-03-31 12:05:1   2016-03-31 12:08:3
2   2   1   2   1     2           2       1   1   1   2016-03-31 12:08:0   2016-03-31 12:12:1
1   2   1   1   2     2           2       1   2   1   2016-03-31 12:09:2   2016-03-31 12:17:3
2   2   1   2   1     1           2       1   1   1   2016-03-31 12:35:2   2016-03-31 12:37:2
2   2   1   2   2     2           2       1   1   1   2016-03-31 12:50:5   2016-03-31 12:52:4
2   2   1   2   1     2           2       1   2   1   2016-03-31 13:09:0   2016-03-31 13:12:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 13:10:0   2016-03-31 13:13:2
2   2   1   2   1     1           2       1   1   1   2016-03-31 14:09:0   2016-03-31 14:10:5
2   2   1   2   2     2           2       2   2   1   2016-03-31 14:14:5   2016-03-31 14:16:5
2   2   1   2   1     1           2       1   1   1   2016-03-31 14:27:3   2016-03-31 14:29:5
2   2   1   2   2     2           2       1   1   1   2016-03-31 15:36:5   2016-03-31 15:39:0
2   2   1   2   1     2           2       1   1   1   2016-03-31 18:47:2   2016-03-31 18:49:4
2   2   1   2   3     3           2       1   1   1   2016-03-31 19:02:5   2016-03-31 19:05:5
2   2   1   2   1     1           2       1   1   1   2016-03-31 20:12:1   2016-03-31 20:14:4
2   2   1   2   1     1           2       1   1   1   2016-03-31 21:00:4   2016-03-31 21:03:1
2   2   1   2   2     2           1       1   1   1   2016-03-31 21:00:3   2016-03-31 21:04:4
2   1   1   2   1     2           2       2   1   1   2016-03-31 21:11:0   2016-03-31 21:14:4
2   2   1   2   2     3           2       1   1   1   2016-03-31 21:13:4   2016-03-31 21:30:0
2   2   1   2   1     1           2       3   1   1   2016-03-31 22:45:3   2016-03-31 22:49:0
2   2   1   2   1     2           2       1   1   1   2016-03-31 23:18:3   2016-03-31 23:20:1
2   2   1   2   1     2           2       1   1   1   2016-03-31 23:20:1   2016-03-31 23:22:4
2   2   1   2   2     2           2       3   1   1   2016-03-31 23:33:5   2016-03-31 23:42:4
2   2   1   2   1     2           2       2   1   1   2016-04-01 00:19:0   2016-04-01 00:20:5
2   1   1   2   1     1           2       1   1   1   2016-04-01 00:28:3   2016-04-01 00:31:4
2   2   1   2   1     2           2       2   1   1   2016-04-01 00:55:4   2016-04-01 00:58:4




                    EXHIBIT 7, PAGE 341
2   2   1   2   2     2           2       1   1   1   2016-04-01 01:10:3   2016-04-01 01:12:3
2   2   1   2   1     2           2       2   2   1   2016-04-01 01:11:0   2016-04-01 01:31:3
2   2   1   2   2     2           1       1   1   1   2016-04-01 01:29:1   2016-04-01 01:32:2
2   2   1   2   1     1           2       1   1   1   2016-04-01 02:15:5   2016-04-01 02:18:1
2   2   1   2   1     2           2       2   1   1   2016-04-01 02:17:3   2016-04-01 02:21:2
2   1   1   2   1     2           2       2   1   1   2016-04-01 04:05:1   2016-04-01 04:08:5
2   2   1   2   1     1           2       2   1   1   2016-04-01 07:07:0   2016-04-01 07:09:5
2   2   1   2   1     2           2       1   1   1   2016-04-01 08:00:3   2016-04-01 08:04:0
2   2   1   2   2     2           2       2   1   1   2016-04-01 08:25:5   2016-04-01 08:28:2
2   2   1   1   1     1           1       2   1   1   2016-04-01 08:36:2   2016-04-01 08:38:5
2   2   1   2   1     3           2       1   1   1   2016-04-01 08:54:5   2016-04-01 09:04:2
2   1   2   1   1     1           2       1   1   1   2016-04-01 09:14:3   2016-04-01 09:16:3
2   2   1   2   1     2           2       1   1   1   2016-04-01 09:46:4   2016-04-01 09:49:2
2   2   1   2   1     1           2       1   1   1   2016-04-01 10:16:5   2016-04-01 10:20:3
2   2   1   2   1     2           2       3   1   1   2016-04-01 10:16:5   2016-04-01 10:22:0
2   2   1   2   1     2           2       3   1   1   2016-04-01 10:46:0   2016-04-01 11:03:4
2   2   1   2   1     1           2       1   1   1   2016-04-01 11:37:1   2016-04-01 11:40:5
2   2   1   2   1     3           2       2   1   1   2016-04-01 11:36:2   2016-04-01 11:41:4
2   2   1   2   1     2           1       2   1   1   2016-04-01 13:04:2   2016-04-01 13:27:2
2   2   1   2   1     2           2       2   1   1   2016-04-01 16:26:2   2016-04-01 16:28:4
2   2   1   2   2     2           1       2   1   1   2016-04-01 18:49:1   2016-04-01 18:52:0
2   2   1   1   2     1           2       2   2   1   2016-04-02 06:45:4   2016-04-02 06:50:5
2   2   1   2   1     2           2       1   1   1   2016-04-02 07:44:0   2016-04-02 07:47:5
2   2   1   2   1     2           2       2   1   1   2016-04-02 08:22:2   2016-04-02 08:25:3
2   2   1   2   1     2           2       2   1   1   2016-04-02 11:59:5   2016-04-02 12:07:2
2   2   1   2   1     1           2       1   1   1   2016-04-02 15:00:4   2016-04-02 15:05:1
2   2   1   2   2     2           2       1   1   1   2016-04-02 15:04:0   2016-04-02 15:06:3
2   2   1   2   1     1           2       1   1   1   2016-04-02 17:59:3   2016-04-02 18:03:3
2   2   1   2   1     2           2       1   1   1   2016-04-03 00:56:5   2016-04-03 01:03:0
2   2   1   2   1     1           2       1   1   1   2016-04-03 02:46:0   2016-04-03 02:48:5
2   2   1   2   2     2           2       1   1   1   2016-04-03 04:11:4   2016-04-03 04:18:4
2   2   1   2   1     2           2       3   1   1   2016-04-03 09:06:0   2016-04-03 09:08:2
2   2   1   2   1     2           2       1   1   1   2016-04-03 11:34:3   2016-04-03 11:37:2
2   2   1   2   2     2           2       2   1   1   2016-04-03 11:57:3   2016-04-03 12:00:4
2   3   1   2   2     1           2       3   1   1   2016-04-03 15:21:5   2016-04-03 15:24:5
2   2   1   2   3     1           2       1   1   1   2016-04-03 16:18:2   2016-04-03 16:21:2
2   2   1   2   1     2           2       1   1   1   2016-04-03 17:45:3   2016-04-03 17:47:5




                    EXHIBIT 7, PAGE 342
2   2   1   2   1     1           1       1   1   1   2016-04-03 18:40:2   2016-04-03 18:42:5
2   2   1   2   1     2           2       2   1   1   2016-04-03 18:40:2   2016-04-03 18:43:0
2   2   1   2   1     2           2       1   1   1   2016-04-03 21:17:0   2016-04-03 21:19:0
2   3   1   2   1     2           2       2   2   1   2016-04-03 21:33:3   2016-04-03 21:36:1
1   2   2   1   3     3           2       2   2   1   2016-04-03 21:33:3   2016-04-03 21:49:4
2   1   1   2   1     1           2       1   1   1   2016-04-03 22:58:0   2016-04-03 23:00:4
2   2   1   2   3     3           2       1   2   1   2016-04-04 00:48:2   2016-04-04 00:51:5
2   2   1   2   1     2           2       1   1   1   2016-04-04 10:51:0   2016-04-04 10:53:5
2   2   1   2   1     2           2       1   1   1   2016-04-04 12:42:1   2016-04-04 12:44:1
2   1   1   2   1     2           2       1   1   1   2016-04-04 13:01:1   2016-04-04 13:04:5
2   2   1   2   1     2           1       2   1   1   2016-04-04 17:42:0   2016-04-04 17:44:5
2   1   1   2   1     2           2       1   1   1   2016-04-04 18:18:2   2016-04-04 18:21:3
2   2   2   2   1     2           1       2   2   1   2016-04-04 19:52:4   2016-04-04 19:55:4
2   2   1   2   1     1           1       1   1   1   2016-04-04 20:40:3   2016-04-04 20:42:3
2   2   1   2   1     2           2       1   1   1   2016-04-04 20:41:4   2016-04-04 20:45:0
2   3   1   2   2     2           2       3   3   1   2016-04-04 23:46:1   2016-04-04 23:48:5
2   2   1   2   1     1           2       1   1   1   2016-04-05 07:32:3   2016-04-05 07:35:3
2   2   1   2   1     2           2       3   1   1   2016-04-05 09:33:3   2016-04-05 10:01:1
2   2   1   2   1     2           2       2   1   1   2016-04-05 12:10:3   2016-04-05 12:13:5
2   2   1   2   2     1           2       2   1   1   2016-04-05 12:20:2   2016-04-05 12:26:3
2   3   1   2   1     2           2       3   1   1   2016-04-05 12:26:0   2016-04-05 12:29:5
2   2   1   2   1     2           2       2   1   1   2016-04-05 12:38:2   2016-04-05 12:41:3
2   2   1   1   1     1           2       1   1   1   2016-04-05 12:32:4   2016-04-05 12:42:2
2   1   1   1   1     1           1       1   1   1   2016-04-05 13:02:4   2016-04-05 13:04:4
2   2   1   2   1     2           2       2   1   1   2016-04-05 13:06:2   2016-04-05 13:09:1
2   1   1   2   2     1           1       1   1   1   2016-04-05 13:30:4   2016-04-05 13:34:1
2   2   1   2   1     2           2       2   1   1   2016-04-05 13:35:2   2016-04-05 13:37:5
2   2   1   2   1     2           2       1   1   1   2016-04-05 13:38:1   2016-04-05 13:45:0
2   2   1   2   1     2           2       1   1   1   2016-04-05 13:41:2   2016-04-05 13:47:5
2   2   1   2   2     2           2       1   1   1   2016-04-05 13:46:1   2016-04-05 13:49:5
2   2   1   2   1     2           2       2   1   1   2016-04-05 13:45:4   2016-04-05 13:50:1
2   2   1   2   1     2           2       2   2   1   2016-04-05 13:59:5   2016-04-05 14:03:5
2   2   1   2   1     2           2       2   1   1   2016-04-05 14:02:1   2016-04-05 14:04:5
2   2   1   2   1     2           2       1   1   1   2016-04-05 14:02:5   2016-04-05 14:05:4
2   2   1   2   1     2           1       3   1   1   2016-04-05 14:12:0   2016-04-05 14:13:5
2   1   1   2   1     1           2       1   1   1   2016-04-05 14:21:2   2016-04-05 14:24:1
2   2   1   2   1     2           1       2   2   1   2016-04-05 15:13:1   2016-04-05 15:17:5




                    EXHIBIT 7, PAGE 343
Exhibit B




   EXHIBIT 7, PAGE 344
                                      Publications Since 2007
                                     Authored or Co-Authored
                                       By Matthew G. Ezell


ARTICLES

These articles are available @ www.fordbubala.com/articles

“Intellectual Property Surveys: 2016” will be electronically published on the INTA website.

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CHAPTERS

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2016).




                                EXHIBIT 7, PAGE 345
Exhibit C




   EXHIBIT 7, PAGE 346
                                                           PROFESSIONAL HISTORY

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    Master of Arts Linguistics (M.A.)
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    Bachelor of Arts (B.A.)
    California State University Fullerton, 2002

PROFESSIONAL AFFILIATIONS
     American Association for Public Opinion Research (AAPOR)
     The Insights Association (Merger of The Marketing Research Association (MRA)
       and the Council of American Survey Research Organizations (CASRO))
     International Trademark Association (INTA)
     The Trademark Reporter (TMR) Committee, 2016 – 2017 term
     Teachers of Japanese in Southern California, President and Board Member,
        2009 – 2012

PROFESSIONAL EXPERIENCE
     Ford Bubala & Associates (Partner), 2015 – Present
     Responsible for questionnaire design and execution, including identifying
     appropriate universe, relevant questions and methodology; coding and data analysis;
     Rule 26 Declaration and report generation and testimony; and communication with
     clients.
     Ford Bubala & Associates (Senior Research Associate), 2010 – 2015
     Ford Bubala & Associates (Research Associate), 1997 – 2002; 2007 – 2010
     Ford Bubala & Associates is a marketing and management consulting firm which
     provides a variety of consulting services in the areas of marketing management,
     marketing research, marketing planning, competitive evaluation, economic analysis,
     and strategy development.
     Ford Bubala & Associates has been retained to provide consulting assistance for a
     diverse base of companies in consumer products, industrial products, and service
     sectors of the economy.

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     Hanno Municipal Board of Education, Saitama, Japan, English teacher 2002 – 2005



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